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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC.; CAPITOL
CMG, INC. D/B/A ARIOSE MUSIC, D/B/A
CAPITOL CMG GENESIS, D/B/A CAPITOL
CMG PARAGON, D/B/A GREG NELSON
MUSIC, D/B/A JUBILEE
COMMUNICATIONS, INC., D/B/A
MEADOWGREEN MUSIC COMPANY, D/B/A
MEAUX HITS, D/B/A MEAUX MERCY,
D/B/A RIVER OAKS MUSIC, D/B/A
SHEPHERD’S FOLD MUSIC, D/B/A
SPARROW SONG, D/B/A WORSHIP               Case No. ___________
TOGETHER MUSIC, D/B/A
WORSHIPTOGETHER.COM SONGS;
UNIVERSAL MUSIC CORP. D/B/A ALMO          COMPLAINT AND
MUSIC CORP., D/B/A CRITERION MUSIC        DEMAND FOR JURY TRIAL
CORP., D/B/A GRANITE MUSIC CORP.,
D/B/A IRVING MUSIC, INC., D/B/A
MICHAEL H. GOLDSEN, INC., D/B/A
UNIVERSAL – GEFFEN MUSIC, D/B/A
UNIVERSAL MUSIC WORKS; SONGS OF
UNIVERSAL, INC. D/B/A UNIVERSAL –
GEFFEN AGAIN MUSIC, D/B/A UNIVERSAL
TUNES; UNIVERSAL MUSIC – MGB NA
LLC D/B/A MULTISONGS, D/B/A
UNIVERSAL MUSIC – CAREERS, D/B/A
UNIVERSAL MUSIC – MGB SONGS;
POLYGRAM PUBLISHING, INC. D/B/A
UNIVERSAL – POLYGRAM
INTERNATIONAL TUNES, INC., D/B/A
UNIVERSAL – POLYGRAM
INTERNATIONAL PUBLISHING, INC.,
D/B/A UNIVERSAL – SONGS OF
POLYGRAM INTERNATIONAL, INC.;
UNIVERSAL MUSIC – Z TUNES LLC D/B/A
NEW SPRING PUBLISHING, D/B/A
UNIVERSAL MUSIC – BRENTWOOD
BENSON PUBLISHING, D/B/A UNIVERSAL
MUSIC – BRENTWOOD BENSON SONGS,
D/B/A UNIVERSAL MUSIC – BRENTWOOD
BENSON TUNES, D/B/A UNIVERSAL
MUSIC – Z MELODIES, D/B/A UNIVERSAL



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MUSIC – Z SONGS; and ABKCO MUSIC,
INC.,

              Plaintiffs,

              v.

ANTHROPIC PBC,

              Defendant.



         Plaintiffs Concord Music Group, Inc.; Capitol CMG, Inc. d/b/a Ariose Music, d/b/a

  Capitol CMG Genesis, d/b/a Capitol CMG Paragon, d/b/a Greg Nelson Music, d/b/a Jubilee

  Communications, Inc., d/b/a Meadowgreen Music Company, d/b/a Meaux Hits, d/b/a Meaux

  Mercy, d/b/a River Oaks Music, d/b/a Shepherd’s Fold Music, d/b/a Sparrow Song, d/b/a

  Worship Together Music, d/b/a Worshiptogether.com Songs; Universal Music Corp. d/b/a Almo

  Music Corp., d/b/a Criterion Music Corp., d/b/a Granite Music Corp., d/b/a Irving Music, Inc.,

  d/b/a Michael H. Goldsen, Inc., d/b/a Universal – Geffen Music, d/b/a Universal Music Works;

  Songs of Universal, Inc. d/b/a Universal – Geffen Again Music, d/b/a Universal Tunes;

  Universal Music – MGB NA LLC d/b/a Multisongs, d/b/a Universal Music – Careers, d/b/a

  Universal Music – MGB Songs; Polygram Publishing, Inc. d/b/a Universal – Polygram

  International Tunes, Inc., d/b/a Universal – Polygram International Publishing, Inc., d/b/a

  Universal – Songs of Polygram International, Inc.; Universal Music – Z Tunes LLC d/b/a New

  Spring Publishing, d/b/a Universal Music – Brentwood Benson Publishing, d/b/a Universal

  Music – Brentwood Benson Songs, d/b/a Universal Music – Brentwood Benson Tunes, d/b/a

  Universal Music – Z Melodies, d/b/a Universal Music – Z Songs; and ABKCO Music, Inc.

  (collectively, “Publishers”), for their complaint against Defendant Anthropic PBC (“Anthropic”),




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allege, on personal knowledge as to matters relating to themselves and on information and belief

as to all other matters, as set forth below.

                                     NATURE OF THE CASE

        1.      Publishers bring this action to address the systematic and widespread

infringement of their copyrighted song lyrics by the artificial intelligence (“AI”) company

Anthropic. In the process of building and operating AI models, Anthropic unlawfully copies and

disseminates vast amounts of copyrighted works—including the lyrics to myriad musical

compositions owned or controlled by Publishers. Publishers embrace innovation and recognize

the great promise of AI when used ethically and responsibly. But Anthropic violates these

principles on a systematic and widespread basis. Anthropic must abide by well-established

copyright laws, just as countless other technology companies regularly do.

        2.      Although the AI technology involved in this case may be complex and cutting-

edge, the legal issues presented here are straightforward and long-standing. A defendant cannot

reproduce, distribute, and display someone else’s copyrighted works to build its own business

unless it secures permission from the rightsholder. This foundational rule of copyright law dates

all the way back to the Statute of Anne in 1710, and it has been applied time and time again to

numerous infringing technological developments in the centuries since. That principle does not

fall away simply because a company adorns its infringement with the words “AI.” Just like the

developers of other technologies that have come before, from the printing press to the copy

machine to the web-crawler, AI companies must follow the law.

        3.      The recent explosion in the development of AI portends extraordinary changes in

the way people and businesses operate, including the potential for exceptional breakthroughs for




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the music and entertainment industries. But, those advances cannot come at the expense of the

existing and future creators who serve as the backbone for AI’s development.

          4.   Publishers are among the world’s leading music publishers. They own or control

the copyrights to the musical compositions—including the lyrics contained therein—for

thousands of the most popular and beloved songs of all time. Publishers’ core business functions

include representing and advocating for thousands of talented and creative songwriters.

Publishers foster the creation of musical compositions by composers and lyricists, promote their

works, protect their copyrights, and ensure that they receive proper remuneration for their

creative efforts, through the commercial licensing of their copyrighted works, including song

lyrics.

          5.   Music is rooted in creativity and innovation. To succeed, Publishers innovate,

foster innovation, and partner with innovators—including entrepreneurs, start-ups, and

established companies. Whether in their own operations or by accelerating start-up businesses or

partnering with other companies, Publishers recognize and drive true innovation. For example,

Universal uses AI in its business and production operations. By contrast, Anthropic’s copyright

infringement is not innovation; in layman’s terms, it’s theft.

          6.   Anthropic is in the business of developing, operating, selling, and licensing AI

technologies. Its primary product is a series of AI models referred to as “Claude.” Anthropic

builds its AI models by scraping and ingesting massive amounts of text from the internet and

potentially other sources, and then using that vast corpus to train its AI models and generate

output based on this copied text. Included in the text that Anthropic copies to fuel its AI models

are the lyrics to innumerable musical compositions for which Publishers own or control the

copyrights, among countless other copyrighted works harvested from the internet. This




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copyrighted material is not free for the taking simply because it can be found on the internet.

Anthropic has neither sought nor secured Publishers’ permission to use their valuable

copyrighted works in this way. Just as Anthropic does not want its code taken without its

authorization, neither do music publishers or any other copyright owners want their works to be

exploited without permission.

       7.      Anthropic claims to be different from other AI businesses. It calls itself an AI

“safety and research” company, and it claims that, by training its AI models using a so-called

“constitution,” it ensures that those programs are more “helpful, honest, and harmless.” Yet,

despite its purportedly principled approach, Anthropic infringes on copyrights without regard for

the law or respect for the creative community whose contributions are the backbone of

Anthropic’s infringing service.

       8.      As a result of Anthropic’s mass copying and ingestion of Publishers’ song lyrics,

Anthropic’s AI models generate identical or nearly identical copies of those lyrics, in clear

violation of Publishers’ copyrights. When a user prompts Anthropic’s Claude AI chatbot to

provide the lyrics to songs such as “A Change Is Gonna Come,” “God Only Knows,” “What a

Wonderful World,” “Gimme Shelter,” “American Pie,” “Sweet Home Alabama,” “Every Breath

You Take,” “Life Is a Highway,” “Somewhere Only We Know,” “Halo,” “Moves Like Jagger,”

“Uptown Funk,” or any other number of Publishers’ musical compositions, the chatbot will

provide responses that contain all or significant portions of those lyrics.

       9.      There are already a number of music lyrics aggregators and websites that serve

this same function, but those sites have properly licensed Publishers’ copyrighted works to

provide this service. Indeed, there is an existing market through which Publishers license their

copyrighted lyrics, ensuring that the creators of musical compositions are compensated and




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credited for such uses. By refusing to license the content it is copying and distributing, Anthropic

is depriving Publishers and their songwriters of control over their copyrighted works and the

hard-earned benefits of their creative endeavors, it is competing unfairly against those website

developers that respect the copyright law and pay for licenses, and it is undermining existing and

future licensing markets in untold ways.

       10.     What’s more, Anthropic’s AI models generate output containing Publishers’ lyrics

even when the models are not specifically asked to do so. Indeed, Anthropic’s Claude responds

to a whole range of prompts that do not seek Publishers’ lyrics—such as requests to write a song

about a certain topic, provide chord progressions for a given musical composition, or write

poetry or short fiction in the style of a certain artist or songwriter—by generating output that

nevertheless copies Publishers’ lyrics.

       11.     By copying and exploiting Publishers’ lyrics in this manner—both as the input it

uses to train its AI models and as the output those AI models generate—Anthropic directly

infringes Publishers’ exclusive rights as copyright holders, including the rights of reproduction,

preparation of derivative works, distribution, and public display. In addition, because Anthropic

unlawfully enables, encourages, and profits from massive copyright infringement by its users, it

is secondarily liable for the infringing acts of its users under well-established theories of

contributory infringement and vicarious infringement. Moreover, Anthropic’s AI output often

omits critical copyright management information regarding these works, in further violation of

Publishers’ rights; in this respect, the composers of the song lyrics frequently do not get

recognition for being the creators of the works that are being distributed. It is unfathomable for

Anthropic to treat itself as exempt from the ethical and legal rules it purports to embrace.




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       12.     Anthropic profits richly from its infringement of Publishers’ repertoires and other

copyright owners’ works. Though the company only recently launched, Anthropic is already

reportedly valued at $5 billion or more, has received billions of dollars in funding, and boasts of

numerous high-profile commercial customers and partnerships. None of that would be possible

without the vast troves of copyrighted material that Anthropic scrapes from the internet and

exploits as the input and output for its AI models. Unlike songwriters, who are creative by

nature, Anthropic’s AI models are not creative—they depend entirely on the creativity of others.

       13.     Yet, Anthropic pays nothing to Publishers, their songwriters, or the countless

other copyright owners whose copyrighted works Anthropic uses to train its AI models.

Anthropic has never even attempted to license the use of Publishers’ lyrics.

       14.     Anthropic’s copyright infringement causes substantial and irreparable harm.

Anthropic’s unlawful conduct enriches Anthropic at the expense of Publishers and their

songwriters and to the detriment of music creation. If left unchecked, Anthropic will continue to

infringe Publishers’ rights and cause damage on a broad scale to Publishers and the songwriters

they represent, supplanting the fruits of human ingenuity and creativity with automated

infringements that simulate genuine expressive works. Accordingly, Publishers bring this action

to stop Anthropic’s infringement and remedy the significant harm Anthropic has caused.

                                JURISDICTION AND VENUE

       15.     This is a civil action in which Publishers seek injunctive relief and damages under

the Copyright Act, 17 U.S.C. § 101, et seq. As such, the Court has original subject matter

jurisdiction over Publishers’ copyright infringement claims pursuant to 28 U.S.C. §§ 1331 and

1338(a).




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       16.     This Court has specific personal jurisdiction over Anthropic pursuant to Tenn.

Code Ann. § 20-2-214. Anthropic knowingly and intentionally markets and supplies its services

to persons in Tennessee and this District. Anthropic has chosen to direct its infringing activities

at Tennessee, including entering into agreements with licensees and users of its AI models

located in Tennessee; unlawfully distributing and publicly displaying Publishers’ copyrighted

lyrics via AI model output to licensees and users in Tennessee; enabling, assisting, and inducing

residents of Tennessee to commit direct infringement of Publishers’ copyrighted lyrics, including

generating infringing output through the AI models; and engaging in other activities purposefully

directed at Tennessee. The claims asserted herein arise from and relate to those activities and

Anthropic’s contacts therefrom.

       17.     This Court has personal jurisdiction over Anthropic because, among other things,

Anthropic does systematic and continuous business in this District and/or has performed acts

directed at and causing harm in this District that give rise to the Complaint.

       18.     Anthropic provides its highly interactive AI models to individuals in Tennessee,

including residents of this District. Residents of Tennessee access Anthropic’s AI models through

Anthropic’s own website and the websites of its customers, either directly, via web searches, or

through other means, and the voluminous acts of infringement for which Anthropic is liable

require a high degree of interaction between users’ computers or other devices and Anthropic’s

AI models. Anthropic’s copyright infringement arises, in part, from licensees and users based in

Tennessee.

       19.     Anthropic’s conduct complained of herein causes Publishers to suffer harm in

Tennessee, given that Publishers either have their principal place of business in Tennessee and/or

offices, operations, staff, and songwriters in Tennessee.




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        20.     Venue is proper in this District in accordance with 28 U.S.C. §§ 1391(b) and

1400(a) because Anthropic conducts, transacts, and/or solicits business in this District, and

because a substantial portion of the events or omissions giving rise to the claims asserted herein,

including those described above, occurred in this District, and much of the harm caused by

Anthropic is felt in this District.

                                         THE PARTIES

Plaintiff Concord

        21.     Plaintiff Concord Music Group, Inc. (“Concord”) is a Delaware corporation with

its principal place of business in Nashville, Tennessee.

        22.     Concord is a global, independent music publisher with rights in over 800,000

copyrighted musical works by some of the world’s most celebrated songwriters, composers, and

lyricists, including, for example, “7 Rings” (as recorded by Ariana Grande) and “Humble and

Kind” (as recorded by Tim McGraw). Concord has its headquarters in Nashville and represents

songwriters based in Tennessee.

Plaintiff Universal

        23.     Plaintiff Capitol CMG, Inc. d/b/a Ariose Music, d/b/a Capitol CMG Genesis,

d/b/a Capitol CMG Paragon, d/b/a Greg Nelson Music, d/b/a Jubilee Communications, Inc.,

d/b/a Meadowgreen Music Company, d/b/a Meaux Hits, d/b/a Meaux Mercy, d/b/a River Oaks

Music, d/b/a Shepherd’s Fold Music, d/b/a Sparrow Song, d/b/a Worship Together Music, d/b/a

Worshiptogether.com Songs is a California corporation with its principal place of business in

Santa Monica, California. Their offices are based in Brentwood, Tennessee, with over 100

employees there.




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       24.     Plaintiff Universal Music Corp. d/b/a Almo Music Corp., d/b/a Criterion Music

Corp., d/b/a Granite Music Corp., d/b/a Irving Music, Inc., d/b/a Michael H. Goldsen, Inc., d/b/a

Universal – Geffen Music, d/b/a Universal Music Works is a Delaware corporation with its

principal place of business in Santa Monica, California.

       25.     Plaintiff Songs of Universal, Inc. d/b/a Universal – Geffen Again Music, d/b/a

Universal Tunes is a California corporation with its principal place of business in Santa Monica,

California.

       26.     Plaintiff Universal Music – MGB NA LLC d/b/a Multisongs, d/b/a Universal

Music – Careers, d/b/a Universal Music – MGB Songs is a California limited liability company

with its principal place of business in Santa Monica, California.

       27.     Plaintiff Polygram Publishing, Inc. d/b/a Universal – Polygram International

Tunes, Inc., d/b/a Universal – Polygram International Publishing, Inc., d/b/a Universal – Songs

of Polygram International Inc. is a Delaware corporation with its principal place of business in

Santa Monica, California.

       28.     Plaintiff Universal Music – Z Tunes LLC d/b/a New Spring Publishing, d/b/a

Universal Music – Brentwood Benson Publishing, d/b/a Universal Music – Brentwood Benson

Songs, d/b/a Universal Music – Brentwood Benson Tunes, d/b/a Universal Music – Z Melodies,

d/b/a Universal Music – Z Songs is a New York limited liability company with its principal place

of business in Santa Monica, California.

       29.     Plaintiffs Capitol CMG, Inc. d/b/a Ariose Music, d/b/a Capitol CMG Genesis,

d/b/a Capitol CMG Paragon, d/b/a Greg Nelson Music, d/b/a Jubilee Communications, Inc.,

d/b/a Meadowgreen Music Company, d/b/a Meaux Hits, d/b/a Meaux Mercy, d/b/a River Oaks

Music, d/b/a Shepherd’s Fold Music, d/b/a Sparrow Song, d/b/a Worship Together Music, d/b/a




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Worshiptogether.com Songs; Universal Music Corp. d/b/a Almo Music Corp., d/b/a Criterion

Music Corp., d/b/a Granite Music Corp., d/b/a Irving Music, Inc., d/b/a Michael H. Goldsen,

Inc., d/b/a Universal – Geffen Music, d/b/a Universal Music Works; Songs of Universal, Inc.

d/b/a Universal – Geffen Again Music, d/b/a Universal Tunes; Universal Music – MGB NA LLC

d/b/a Multisongs, d/b/a Universal Music – Careers, d/b/a Universal Music – MGB Songs;

Polygram Publishing, Inc. d/b/a Universal – Polygram International Tunes, Inc., d/b/a Universal

– Polygram International Publishing, Inc., d/b/a Universal – Songs of Polygram International,

Inc.; and Universal Music – Z Tunes LLC d/b/a New Spring Publishing, d/b/a Universal Music –

Brentwood Benson Publishing, d/b/a Universal Music – Brentwood Benson Songs, d/b/a

Universal Music – Brentwood Benson Tunes, d/b/a Universal Music – Z Melodies, d/b/a

Universal Music – Z Songs are referred to herein collectively as “Universal.”

       30.     The entities comprising Universal are part of Universal Music Publishing Group,

one of the largest music publishers in the world, with rights to an extensive music catalog,

representing iconic standards and hit pop songs alike. Universal Music Publishing Group has an

office in Nashville and represents songwriters based in Tennessee.

Plaintiff ABKCO

       31.     Plaintiff ABKCO Music, Inc. (“ABKCO”) is a New York corporation with its

principal place of business in New York, New York.

       32.     ABKCO is a leading independent music publisher. Founded over 60 years ago,

ABKCO holds rights in the catalogs of countless iconic songwriters, including Sam Cooke (for

example, “You Send Me,” as recorded by Sam Cooke) and Mick Jagger/Keith Richards (for

example, “Wild Horses,” as recorded by the Rolling Stones), among many others. ABKCO

represents songwriters based in Tennessee.




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Defendant Anthropic

           33.   Defendant Anthropic PBC is a Delaware corporation with its principal place of

business at 548 Market Street, PMB 90375, San Francisco, California 94104-5401.

                          PUBLISHERS AND THEIR COPYRIGHTS

           34.   Publishers are among the world’s foremost music publishers. As music publishers,

they foster the creation and lawful exploitation of musical compositions, including the lyrics

contained therein. Publishers serve as representatives and advocates for the interests of the

songwriters they represent, i.e., lyricists and composers, who have written many of the most

well-known and cherished songs of all time. Publishers are committed to artistry, innovation, and

entrepreneurship.

           35.   It takes enormous talent, energy, and resources for songwriters to create the songs

listened to by fans throughout the world. Publishers’ songwriters pour their hearts and souls into

the lyrics they create. Those lyrics are essential to providing narrative, expressing emotion, and,

ultimately, creating meaning in music. Indeed, lyrics are often the most recognizable and

memorable aspects of songs. Publishers serve the songwriters who write these lyrics by assisting

them in their creative process and promoting their works to record companies and recording

artists.

           36.   Publishers and their songwriters rely upon the United States’ copyright laws to

protect their musical compositions from infringement and preserve their artistic and economic

interests in the music they create. Publishers’ financial incentives to invest in songwriters and the

creation and promotion of their musical compositions flow directly from the protections afforded

by copyright. Copyright protection is what enables music publishers to invest substantial time,

money, effort, and talent to develop, promote, publish, administer, acquire, license, and otherwise




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exploit the copyrights in the musical compositions written by the many songwriters they

represent.

       37.     Publishers own and/or control, in whole or in part, the exclusive rights to millions

of valuable musical compositions, including the compositions listed on Exhibit A, which is an

illustrative and non-exhaustive list of the musical compositions owned by Publishers that

Anthropic infringed, and which will be amended as necessary as the case proceeds.

       38.     Publishers own, control, administer, or are the exclusive licensors of the

copyrights in and to these works in a variety of ways, including pursuant to agreements with the

songwriters and rightsholders.

       39.     All the musical compositions listed on Exhibit A constitute original works and

copyrightable subject matter pursuant to the Copyright Act, 17 U.S.C. § 101, et seq., and they

have been duly registered with the U.S. Copyright Office. The copyrights in the musical

compositions set forth in Exhibit A remain valid and subsisting and have been owned and/or

controlled by Publishers at all times relevant to the allegations in this Complaint.

       40.     The registered copyrights for these musical compositions include the lyrics

contained therein.

       41.     Publishers own and/or exclusively control the rights set forth in 17 U.S.C. § 106

of the Copyright Act with respect to the musical compositions on Exhibit A, and many more.

       42.     Each of the rights under the Copyright Act—including the rights to reproduce the

work, prepare derivative works, distribute copies to the public, and display the work publicly—is

a separate right within the bundle of rights that a copyright owner (or holder of an exclusive

license) may choose to exploit. These rights are reserved under copyright law for those that own

or control them, and Anthropic is not authorized to appropriate them to build its business model.




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       43.     Publishers work to ensure that songwriters’ creative achievements are properly

rewarded. Anyone who wants to use the musical compositions owned and/or controlled by

Publishers, including the lyrics contained therein, must comply with copyright law by obtaining

necessary licenses from them.

       44.     Publishers routinely enter into various licenses and agreements relating to the

musical compositions in their catalogs, collect the income arising from such transactions, and

compensate their songwriters with their applicable share of the income. Those songwriters, in

turn, rely on that income to earn a living so that they can continue to enrich the world with new

music. Indeed, the music publishing industry is based on a model of licensing, permission, and

authorization, which ensures that songwriters and publishers are appropriately compensated for

authorized uses of their works and retain control over the exploitation of such works.

       45.     Publishers expend great energy and resources developing and pursuing new

licensing opportunities and business models for their musical compositions. In particular,

Publishers help songwriters exploit their works by assisting them in licensing musical

compositions for sound recordings, public performances, printed sheet music, commercials,

advertisements, motion pictures, television shows, various digital services, lyrics aggregators,

and/or lyrics websites.

       46.     Publishers have embraced technological innovation and provide their songs and

catalogs across an ever-evolving variety of formats, distribution, and access models. Today,

Publishers and their partners offer consumers a variety of authorized means to enjoy their

musical compositions—including through the licensed lyrics aggregators and websites where

consumers can find genuine, authorized copies of the lyrics to their favorite songs. Publishers

often require that these sites properly credit the authors of the musical compositions they license.




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        47.    Licensing for the use of musical compositions—including for use of lyrics in

internet-based media—is an important revenue source for Publishers and a fundamental means

by which songwriters earn a living. Publishers depend on licensing and otherwise exploiting

these exclusive rights under the Copyright Act, among others, to earn revenue from their catalogs

of musical compositions to ensure that the songwriters they represent are compensated for the

use of their songs. Without appropriate protections provided by copyright law and corresponding

licenses, unchecked infringement will deny Publishers and songwriters control over the

exploitation of their compositions and erode the artistic, cultural, and economic value of these

compositions, including their lyrics.

        48.    Publishers recognize the great potential of ethical AI as a powerful tool for the

future. However, it is critical that AI technology be developed and employed responsibly, in a

manner that protects the rights of Publishers and songwriters, their livelihoods, and the creative

ecosystem as a whole. Doing so will ensure that AI enhances—rather than undermines—human

creativity.

                     ANTHROPIC AND ITS INFRINGING CONDUCT

        A.     Anthropic and Its AI Business

        49.    Anthropic is in the business of developing, operating, selling, and licensing access

to AI programs. Founded in 2021 by former OpenAI executives and funded by companies like

Amazon, Google, and Zoom, Anthropic is an AI juggernaut valued at $5 billion or more.1 But

Anthropic has built its business by unlawfully taking and using massive amounts of copyrighted

content without permission or credit—including Publishers’ lyrics.


1 See, e.g., Krystal Hu and Jaiveer Shekhawat, Google-backed Anthropic raises $450 mln in

latest AI funding, REUTERS (May 23, 2023), https://www.reuters.com/markets/deals/alphabet-
backed-ai-startup-anthropic-raises-450-million-funding-freeze-thaws-2023-05-23/.


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        50.     Anthropic’s primary product offering is a series of AI models referred to as

“Claude.” Anthropic’s Claude AI models are a type of model known as a general purpose large

language model (“LLM”). Anthropic feeds the model vast amounts of text copied from the

internet, totaling billions or trillions of words, in order to “train” Claude. As a result, Claude is

then able to provide text-based responses to user queries in a seemingly intelligent, human-like

manner.

        51.     Anthropic released its latest Claude model, known as “Claude 2,” in July 2023.

Anthropic touts Claude 2 as its “most capable system yet.”2 The company also offers various

other iterations of its Claude AI models. According to Anthropic, all of these AI models “use

similar techniques,” and Claude 2 represents “a continuous evolution and a series of small, but

meaningful improvements” over previous versions.3

        52.     Anthropic provides access to its Claude AI models in two ways: through a chat

interface on Anthropic’s website, and as a commercial Application Programming Interface

(“API”) through which custom third-party client software can interact with Claude AI models.

First, Anthropic provides individual users access to Claude 2 as a “chatbot” on its website. This

chatbot responds to user-submitted questions and commands with seemingly sophisticated and

conversational AI-generated replies. Anthropic makes this chatbot available in a paid

subscription-based version and a more limited free version. Second, Anthropic sells or licenses

API-based access to Claude 2 and its earlier Claude models to commercial customers,

incorporating Claude interactions into these customers’ software, products, and systems. When a

prompt is entered into customer software using the Anthropic API, the customer’s software sends


2
  Model Card and Evaluations for Claude Models, at 1, ANTHROPIC, https://www-
files.anthropic.com/production/images/Model-Card-Claude-2.pdf.
3 Id.




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the prompt to an Anthropic server, Anthropic passes the prompt as input to its AI model, and then

an Anthropic server sends the model’s response back to the customer’s software. This process is

invisible to the ultimate end user, who experiences using the customer’s software as if the

customer itself is generating the response for the user.

       B.      Anthropic’s Development of Its AI Models Generally

       53.     Anthropic’s Claude AI models respond to user prompts in a seemingly human-like

manner because Anthropic has copied and fed the underlying models vast amounts of text.

Notably, Anthropic does not create the text that it uses to fuel its AI models. Rather, Anthropic

harvests this text—including Publishers’ copyrighted lyrics and countless other copyrighted

works—from across the internet on an enormous scale, and then copies that text to serve as input

for its AI models.

       54.     Specifically, Anthropic “trains” its Claude AI models how to generate text by

taking the following steps:

               a.      First, Anthropic copies massive amounts of text from the internet and

       potentially other sources. Anthropic collects this material by “scraping” (or copying or

       downloading) the text directly from websites and other digital sources and onto

       Anthropic’s servers, using automated tools, such as bots and web crawlers, and/or by

       working from collections prepared by third parties, which in turn may have been

       harvested through web scraping. This vast collection of text forms the input, or “corpus,”

       upon which the Claude AI model is then trained.

               b.      Second, as it deems fit, Anthropic “cleans” the copied text to remove

       material it perceives as inconsistent with its business model, whether technical or

       subjective in nature (such as deduplication or removal of offensive language), or for other




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        reasons. In most instances, this “cleaning” process appears to entirely ignore copyright

        infringements embodied in the copied text.

                 c.     Third, Anthropic copies this massive corpus of previously copied text into

        computer memory and processes this data in multiple ways to train the Claude AI models,

        or establish the values of billions of parameters that form the model. That includes

        copying, dividing, and converting the collected text into units known as “tokens,” which

        are words or parts of words and punctuation, for storage. This process is referred to as

        “encoding” the text into tokens. For Claude, the average token is about 3.5 characters

        long.4

                 d.     Fourth, Anthropic processes the data further as it “finetunes” the Claude

        AI model and engages in additional “reinforcement learning,” based both on human

        feedback and AI feedback, all of which may require additional copying of the collected

        text.

        55.      Once this input and training process is complete, Anthropic’s Claude AI models

generate output consistent in structure and style with both the text in their training corpora and

the reinforcement feedback. When given a prompt, Claude will formulate a response based on its

model, which is a product of its pretraining on a large corpus of text and finetuning, including

based on reinforcement learning from human feedback. According to Anthropic, “Claude is not a

bare language model; it has already been fine-tuned to be a helpful assistant.”5 Claude works

with text in the form of tokens during this processing, but the output is ordinary readable text.




4 Glossary, ANTHROPIC, https://docs.anthropic.com/claude/docs/glossary.

5 Id.




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       C.        Anthropic’s Unlawful Exploitation of Publishers’ Works

       56.       First, Anthropic engages in the wholesale copying of Publishers’ copyrighted

lyrics as part of the initial data ingestion process to formulate the training data used to program

its AI models.

       57.       Anthropic fuels its AI models with enormous collections of text harvested from

the internet. But just because something may be available on the internet does not mean it is free

for Anthropic to exploit to its own ends.

       58.       For instance, the text corpus upon which Anthropic trained its Claude AI models

and upon which these models rely to generate text includes vast amounts of Publishers’

copyrighted lyrics, for which they own or control the exclusive rights.

       59.       Anthropic largely conceals the specific sources of the text it uses to train its AI

models. Anthropic has stated only that “Claude models are trained on a proprietary mix of

publicly available information from the Internet, datasets that we license from third party

businesses, and data that our users affirmatively share or that crowd workers provide,” and that

the text on which Claude 2 was trained continues through early 2023 and is 90 percent English-

language.6 The reason that Anthropic refuses to disclose the materials it has used for training

Claude is because it is aware that it is copying copyrighted materials without authorization from

the copyright owners.

       60.       Anthropic’s limited disclosures make clear that it has relied heavily on datasets

(e.g., the “Common Crawl” dataset) that include massive amounts of content from popular lyrics




6 Model Card and Evaluations for Claude Models, at 2, ANTHROPIC, https://www-

files.anthropic.com/production/images/Model-Card-Claude-2.pdf.


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websites such as genius.com, lyrics.com, and azlyrics.com, among other standard large text

collections, to train its AI models.7

        61.     Moreover, the fact that Anthropic’s AI models respond to user prompts by

generating identical or near-identical copies of Publishers’ copyrighted lyrics makes clear that

Anthropic fed the models copies of those lyrics when developing the programs. Anthropic had to

first copy these lyrics and process them through its AI models during training, in order for the

models to subsequently disseminate copies of the lyrics as output.

        62.     Second, Anthropic creates additional unauthorized reproductions of Publishers’

copyrighted lyrics when it cleans, processes, trains with, and/or finetunes the data ingested into

its AI models, including when it tokenizes the data. Notably, although Anthropic “cleans” the

text it ingests to remove offensive language and filter out other materials that it wishes to exclude

from its training corpus, Anthropic has not indicated that it takes any steps to remove

copyrighted content.

        63.     By copying Publishers’ lyrics without authorization during this ingestion and

training process, Anthropic violates Publishers’ copyrights in those works.

        64.     Third, Anthropic’s AI models disseminate identical or near-identical copies of a

wide range of Publishers’ copyrighted lyrics, in further violation of Publishers’ rights.

        65.     Upon accessing Anthropic’s Claude AI models through Anthropic’s commercially

available API or via its public website, users can request and obtain through Claude verbatim or

near-verbatim copies of lyrics for a wide variety of songs, including copyrighted lyrics owned




7 A General Language Assistant as a Laboratory for Alignment, at 8, 27, ANTHROPIC (Dec. 9,

2021), https://arxiv.org/pdf/2112.00861.pdf.


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and controlled by Publishers. These copies of lyrics are not only substantially but strikingly

similar to the original copyrighted works.

       66.     For example, when Anthropic’s Claude is asked, “What are the lyrics to Roar by

Katy Perry,” to which Concord owns the copyright, the AI model responds by providing an

almost identical copy of those lyrics, in violation of Concord’s rights:

                  Claude output:                                 Genuine Concord lyrics:

 I used to bite my tongue and hold my breath          I used to bite my tongue and hold my breath
 Scared to rock the boat and make a mess              Scared to rock the boat and make a mess
 So I sat quietly, agreed politely                    So I sat quietly, agreed politely
 I guess that I forgot I had a choice                 I guess that I forgot I had a choice
 I let you push me past the breaking point            I let you push me past the breaking point
 I stood for nothing, so I fell for everything        I stood for nothing, so I fell for everything

 You held me down, but I got up                       You held me down, but I got up (hey)
 Already brushing off the dust                        Already brushing off the dust
 You hear my voice, you hear that sound               You hear my voice, you hear that sound
 Like thunder gonna shake the ground                  Like thunder, gonna shake the ground
 You held me down, but I got up                       You held me down, but I got up (hey)
 Get ready ’cause I’ve had enough                     Get ready ’cause I’ve had enough
 I see it all, I see it now                           I see it all, I see it now

 I got the eye of the tiger, a fighter, dancing       I got the eye of the tiger, a fighter
 through the fire                                     Dancing through the fire
 ’Cause I am a champion and you’re gonna              ’Cause I am a champion, and you’re gonna
 hear me roar                                         hear me roar
 Louder, louder than a lion                           Louder, louder than a lion
 ’Cause I am a champion and you’re gonna              ’Cause I am a champion, and you’re gonna
 hear me roar                                         hear me roar

 Oh oh oh oh oh oh oh                                 Oh-oh-oh-oh-oh
 Oh oh oh oh oh oh oh                                 Oh-oh-oh-oh-oh
 Oh oh oh oh oh oh oh                                 Oh-oh-oh-oh-oh
 You’re gonna hear me roar                            You’re gonna hear me roar

 Now I’m floating like a butterfly                    Now I’m floatin’ like a butterfly
 Stinging like a bee I earned my stripes              Stinging like a bee, I earned my stripes
 I went from zero, to my own hero                     I went from zero, to my own hero

 You held me down, but I got up                       You held me down, but I got up (hey)
 Already brushing off the dust                        Already brushing off the dust



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You hear my voice, you hear that sound               You hear my voice, you hear that sound
Like thunder gonna shake the ground                  Like thunder, gonna shake the ground
You held me down, but I got up                       You held me down, but I got up (hey)
Get ready ’cause I’ve had enough                     Get ready ’cause I’ve had enough
I see it all, I see it now                           I see it all, I see it now

I got the eye of the tiger, a fighter, dancing       I got the eye of the tiger, a fighter
through the fire                                     Dancing through the fire
’Cause I am a champion and you’re gonna              ’Cause I am a champion, and you’re gonna
hear me roar                                         hear me roar
Louder, louder than a lion                           Louder, louder than a lion
’Cause I am a champion and you’re gonna              ’Cause I am a champion, and you’re gonna
hear me roar                                         hear me roar

Oh oh oh oh oh oh oh                                 Oh-oh-oh-oh-oh
Oh oh oh oh oh oh oh                                 Oh-oh-oh-oh-oh
Oh oh oh oh oh oh oh                                 Oh-oh-oh-oh-oh
You’re gonna hear me roar                            You’re gonna hear me roar
Oh oh oh oh oh oh oh
You’ll hear me roar                                  Oh-oh-oh-oh-oh
Oh oh oh oh oh oh oh                                 Oh-oh-oh-oh-oh (you’ll hear me roar)
You’re gonna hear me roar...                         Oh-oh-oh-oh-oh
                                                     You’re gonna hear me roar
Roar-or, roar-or, roar-or
                                                     Roar, roar, roar, roar, roar

                                                     I got the eye of the tiger, a fighter
                                                     Dancing through the fire
                                                     ’Cause I am a champion, and you’re gonna
                                                     hear me roar
                                                     Louder, louder than a lion
                                                     ’Cause I am a champion, and you’re gonna
                                                     hear me roar

                                                     Oh-oh-oh-oh-oh
                                                     Oh-oh-oh-oh-oh (yeah)
                                                     Oh-oh-oh-oh-oh
                                                     You’re gonna hear me roar

                                                     Oh-oh-oh-oh-oh
                                                     Oh-oh-oh-oh-oh (you’ll hear me roar)
                                                     Oh-oh-oh-oh-oh
                                                     You’re gonna hear me roar




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       67.      Likewise, when Anthropic’s Claude is prompted, “What are the lyrics to I Will

Survive by Gloria Gaynor,” to which Universal owns the copyright, the model responds by

providing a nearly word-for-word copy of those lyrics, in violation of Universal’s copyright:

                  Claude output:                                  Genuine Universal lyrics:

 First I was afraid, I was petrified                     At first I was afraid, I was petrified
 Kept thinking I could never live without you            Kept thinking I could never live without you
 by my side                                              by my side
 But then I spent so many nights thinking how            But then I spent so many nights thinking
 you did me wrong                                        how you did me wrong
 And I grew strong                                       And I grew strong
 And I learned how to get along                          And I learned how to get along

 And so you’re back from outer space                     And so you’re back
 I just walked in to find you here with that sad         From outer space
 look upon your face                                     I just walked in to find you here
 I should have changed my stupid lock, I should          With that sad look upon your face
 have made you leave your key                            I should have changed that stupid lock
 If I had known for just one second you’d be             I should have made you leave your key
 back to bother me                                       If I’d known for just one second
                                                         You’d be back to bother me
 Go on now, go, walk out the door
 Just turn around now                                    Go on now, go
 ’Cause you’re not welcome anymore                       Walk out the door
 Weren’t you the one who tried to hurt me with           Just turn around now
 goodbye?                                                ’Cause you're not welcome anymore
 Did you think I’d crumble?                              Weren’t you the one who tried to hurt me
 Did you think I’d lay down and die?                     with goodbye?
                                                         Did you think I’d crumble?
 Oh no, not I, I will survive                            Did you think I’d lay down and die?
 Oh, as long as I know how to love, I know I’ll
 stay alive                                              Oh no, not I
 I’ve got all my life to live                            I will survive
 And I’ve got all my love to give and I’ll               Oh, as long as I know how to love, I know
 survive                                                 I’ll stay alive
 I will survive, hey, hey                                I’ve got all my life to live
                                                         And I’ve got all my love to give and I’ll
 It took all the strength I had not to fall apart        survive
 Kept trying hard to mend the pieces of my               I will survive, hey, hey
 broken heart
 And I spent oh-so many nights just feeling              Only the Lord could give me strength not to
 sorry for myself                                        fall apart
 I used to cry                                           Though I tried hard to mend the pieces of my



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But now I hold my head up high                        broken heart
                                                      And I spent oh-so many nights just feeling
And you see me somebody new                           sorry for myself
I’m not that chained-up little person still in        I used to cry
love with you                                         But now I hold my head up high
And so you felt like dropping in and just
expect me to be free                                  And you see me, somebody new
Well, now I’m saving all my lovin’ for                I’m not that chained-up little person still in
someone who’s lovin’ me                               love with you
                                                      And so you felt like dropping in
Go on now, go, walk out the door                      And just expect me to be free
Just turn around now                                  Well, now I’m saving all my lovin’
’Cause you're not welcome anymore                     For someone who’s loving me
Weren’t you the one who tried to break me
with goodbye?                                         Go on now, go
Did you think I’d crumble?                            Walk out the door
Did you think I’d lay down and die?                   Just turn around now
                                                      ’Cause you’re not welcome anymore
Oh no, not I, I will survive                          Weren’t you the one who tried to break me
Oh, as long as I know how to love, I know I’ll        with goodbye?
stay alive                                            Did you think I’d crumble?
I’ve got all my life to live                          Did you think I’d lay down and die?
And I’ve got all my love to give and I’ll
survive                                               Oh no, not I
I will survive                                        I will survive
                                                      And as long as I know how to love
Oh go on now, go, walk out the door                   I know I’ll stay alive
Just turn around now                                  I’ve got all my life to live
’Cause you’re not welcome anymore                     And I’ve got all my love to give and I’ll
Weren’t you the one who tried to crush me             survive
with goodbye?                                         I will survive
Did you think I’d crumble?
Did you think I’d lay down and die?                   Oh
                                                      Go on now, go
Oh no, not I, I will survive                          Walk out the door
Oh, as long as I know how to love, I know I’ll        Just turn around now
stay alive                                            ’Cause you’re not welcome anymore
I’ve got all my life to live                          Weren’t you the one who tried to break me
And I’ve got all my love to give and I’ll             with goodbye?
survive                                               Do you think I’d crumble?
I will survive                                        Did you think I’d lay down and die?

I will survive                                        No no, not I
                                                      I will survive
                                                      And as long as I know how to love
                                                      I know I’ll stay alive



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                                                   I’ve got all my life to live
                                                   And I’ve got all my love to give and I will
                                                   survive
                                                   I will survive

                                                   Go on now, go
                                                   Walk out the door
                                                   Just turn around now
                                                   ’Cause you’re not welcome anymore
                                                   Weren’t you the one who tried to break me
                                                   with goodbye?
                                                   Did you think I’d crumble?
                                                   Did you think I’d lay down and die?

                                                   Oh no, not I
                                                   I will survive
                                                   And as long as I know how to love
                                                   I know I’ll stay alive
                                                   I’ve got all my life to live
                                                   And I’ve got all my love to give and I will
                                                   survive
                                                   I will survive
                                                   I will survive


       68.     Meanwhile, when Claude is prompted, “What are the lyrics to Friends in Low

Places by Garth Brooks,” the AI model again provides a nearly identical copy of those lyrics, in

violation of Universal’s rights:

                 Claude output:                             Genuine Universal lyrics:

 Blame it all on my roots                         Blame it all on my roots
 I showed up in boots                             I showed up in boots
 And ruined your black tie affair                 And ruined your black tie affair
 The last one to know                             The last one to know
 The last one to show                             The last one to show
 I was the last one you thought you’d see there   I was the last one you thought you’d see there
                                                  And I saw the surprise
 And I saw the surprise                           And the fear in his eyes
 And the fear in his eyes                         When I took his glass of champagne
 When I took his glass of champagne               And I toasted you
 And I toasted you                                Said “honey, we may be through”
 Said, honey, we may be through                   But you’ll never hear me complain
 But you’ll never hear me complain


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                                                ’Cause I’ve got friends in low places
’Cause I’ve got friends in low places           Where the whiskey drowns
Where the whiskey drowns                        And the beer chases my blues away
And the beer chases my blues away               And I’ll be okay
And I’ll be okay                                I’m not big on social graces
I'm not big on social graces                    Think I’ll slip on down to the oasis
Think I’ll slip on down to the oasis            Oh, I’ve got friends in low places
Oh, I’ve got friends in low places
                                                Well, I guess I was wrong
Well, I guess I was wrong                       I just don’t belong
I just don’t belong                             But then, I’ve been there before
But then, I’ve been there before                Everything’s all right
Everything’s all right                          I’ll just say goodnight
I’ll just say goodnight                         And I’ll show myself to the door
And I’ll show myself to the door                Hey, I didn’t mean
                                                To cause a big scene
Hey, I didn’t mean                              Just give me an hour and then
To cause a big scene                            Well, I’ll be as high as that ivory tower
Just give me an hour and then                   That you're livin’ in
Well, I’ll be as high
As that ivory tower                             ’Cause I’ve got friends in low places
That you're livin’ in                           Where the whiskey drowns
                                                And the beer chases my blues away
’Cause I’ve got friends in low places           And I’ll be okay
Where the whiskey drowns                        I’m not big on social graces
And the beer chases my blues away               Think I’ll slip on down to the oasis
And I’ll be okay                                Oh, I’ve got friends in low places
I’m not big on social graces
Think I’ll slip on down to the oasis            I’ve got friends in low places
Oh, I’ve got friends in low places              Where the whiskey drowns
                                                And the beer chases my blues away
I’ve got friends in low places                  And I’ll be okay
Where the whiskey drowns                        I’m not big on social graces
And the beer chases my blues away               Think I’ll slip on down to the oasis
And I’ll be okay                                Oh, I’ve got friends in low places
I’m not big on social graces
Think I’ll slip on down to the oasis            I’ve got friends in low places
Oh, I’ve got friends in low places              Where the whiskey drowns
                                                And the beer chases my blues away
                                                And I’ll be okay
                                                I’m not big on social graces
                                                Think I’ll slip on down to the oasis
                                                Oh, I’ve got friends in low places

                                                I’ve got friends in low places
                                                Where the whiskey drowns



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                                                 And the beer chases my blues away
                                                 And I’ll be okay


       69.    Likewise, when Claude is queried, “What are the lyrics to You Can’t Always Get

What You Want by the Rolling Stones,” to which ABKCO owns the copyright, the AI model

responds with an almost verbatim copy of those lyrics, in violation of ABKCO’s rights:

                Claude output:                             Genuine ABKCO lyrics:

 I saw her today at the reception                I saw her today at the reception
 A glass of wine in her hand                     A glass of wine in her hand
 I knew she was gonna meet her connection        I knew she would meet her connection
 At her feet was her footloose man               At her feet was her footloose man

 No, you can’t always get what you want          No, you can’t always get what you want
 You can’t always get what you want              You can’t always get what you want
 You can’t always get what you want              You can’t always get what you want
 But if you try sometimes you find               But if you try sometime you’ll find
 You get what you need                           You get what you need

 I saw her today at the reception                I saw her today at the reception
 A glass of wine in her hand                     A glass of wine in her hand
 I knew she was gonna meet her connection        I knew she was gonna meet her connection
 At her feet was her footloose man               At her feet was her footloose man

 You can’t always get what you want              You can’t always get what you want
 You can’t always get what you want              You can’t always get what you want
 You can’t always get what you want              You can’t always get what you want
 But if you try sometimes you might find         But if you try sometimes, well, you might
 You get what you need                           find
                                                 You get what you need
 Oh yeah, hey hey hey, oh...                     Ah, yeah
                                                 Oh
 And I went down to the demonstration
 To get my fair share of abuse                   And I went down to the demonstration
 Singing, “We’re gonna vent our frustration      To get my fair share of abuse
 If we don’t we’re gonna blow a 50-amp fuse”     Singing, “We’re gonna vent our frustration
 Sing it to me now...                            If we don’t we’re gonna blow a fifty-amp
                                                 fuse”
 You can’t always get what you want              Sing it to me, honey
 You can’t always get what you want
 You can’t always get what you want              You can’t always get what you want
                                                 You can’t always get what you want


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But if you try sometimes well you just might       You can’t always get what you want
find                                               But if you try sometimes, well, you just might
You get what you need                              find
                                                   You get what you need
Oh baby, yeah, yeah!                               Ah baby, yeah
                                                   Ah
I went down to the Chelsea drugstore
To get your prescription filled                    I went down to the Chelsea drugstore
I was standing in line with Mr. Jimmy              To get your prescription filled
And man, did he look pretty ill                    I was standing in line with Mr. Jimmy
We decided that we would have a soda               And, man, did he look pretty ill
My favorite flavor, cherry red                     We decided that we would have a soda
I sung my song to Mr. Jimmy                        My favorite flavor, cherry red
Yeah, and he said one word to me, and that         I sung my song to Mr. Jimmy
was “dead”                                         Yeah, and he said one word to me, and that
I said to him                                      was “dead”
                                                   I said to him
You can’t always get what you want, no!
You can’t always get what you want (tell ya        You can’t always get what you want, well no
baby)                                              You can’t always get what you want. I tell
You can’t always get what you want (no)            you, baby
But if you try sometimes you just might find       You can’t always get what you want, no
You get what you need                              But if you try sometimes you just might find,
                                                   uh, mm
Oh yes! Woo!                                       You get what you need, oh yeah, woo!

You get what you need—yeah, oh baby!               Ah, woo!
Oh yeah!
                                                   You get what you need, yeah, oh baby
I saw her today at the reception                   Ah yeah
In her glass was a bleeding man
She was practiced at the art of deception          I saw her today at the reception
Well I could tell by her blood-stained hands       In her glass was a bleeding man
                                                   She was practiced at the art of deception
You can’t always get what you want                 Well, I could tell by her blood-stained hands,
You can’t always get what you want                 sing it
You can’t always get what you want
But if you try sometimes you just might find       You can’t always get what you want, yeah
You just might find                                You can’t always get what you want, ooh
You get what you need                              yeah, child
                                                   You can’t always get what you want
You can’t always get what you want (no, no         But if you try sometimes you just might find
baby)                                              You just might find
You can’t always get what you want                 You get what you need, ah yeah
You can’t always get what you want                 Ah baby, woo!
But if you try sometimes you just might find



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 You just might find                                 Ah, you can’t always get what you want, no,
 You get what you need, ah yes!                      no, baby
                                                     You can’t always get what you want, you
                                                     can’t now, now
                                                     You can’t always get what you want
                                                     But if you try sometimes you just might find
                                                     You just might find that you
                                                     You get what you need, oh yeah
                                                     Ah yeah, do that


       70.       Claude’s output is likewise identical or substantially and strikingly similar to

Publishers’ copyrighted lyrics for each of the compositions listed in Exhibit A. These works that

have been infringed by Anthropic include timeless classics as well as today’s chart-topping hits,

spanning a range of musical genres. And this represents just a small fraction of Anthropic’s

infringement of Publishers’ works and the works of others, through both the input and output of

its AI models.

       71.       Anthropic’s Claude is also capable of generating lyrics for new songs that

incorporate the lyrics from existing copyrighted songs. In these cases, Claude’s output may

include portions of one copyrighted work, alongside portions of other copyrighted works, in a

manner that is entirely inconsistent and even inimical to how the songwriter intended them.

       72.       Moreover, Anthropic’s Claude also copies and distributes Publishers’ copyrighted

lyrics even in instances when it is not asked to do so. Indeed, when Claude is prompted to write a

song about a given topic—without any reference to a specific song title, artist, or songwriter—

Claude will often respond by generating lyrics that it claims it wrote that, in fact, copy directly

from portions of Publishers’ copyrighted lyrics.

       73.       For instance, when Anthropic’s Claude is queried, “Write me a song about the

death of Buddy Holly,” the AI model responds by generating output that copies directly from the




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song “American Pie” written by Don McLean, in violation of Universal’s copyright, despite the

fact that the prompt does not identify that composition by title, artist, or songwriter:

                 Claude output:                                Genuine Universal lyrics:

 Here is a song I wrote about the death of          A long long time ago
 Buddy Holly:                                       I can still remember how
                                                    That music used to make me smile
 The Day the Music Died                             And I knew if I had my chance
                                                    That I could make those people dance
 February made me shiver                            And maybe they’d be happy for a while
 With every paper I’d deliver
 Bad news on the doorstep                           But February made me shiver
 I couldn’t take one more step                      With every paper I’d deliver
                                                    Bad news on the doorstep
 I can’t remember if I cried                        I couldn’t take one more step
 When I read about his widowed bride
 But something touched me deep inside               I can’t remember if I cried
 The day the music died                             When I read about his widowed bride
                                                    Something touched me deep inside
 So bye, bye Miss American Pie                      The day the music died
 Drove my Chevy to the levee but the levee          So
 was dry
 Them good ole boys were drinking whiskey           Bye, bye Miss American Pie
 ’n rye                                             Drove my Chevy to the levee but the levee
 Singin’ this’ll be the day that I die              was dry
 This’ll be the day that I die                      And them good ole boys were drinking
                                                    whiskey and rye
 Did you write the book of love                     Singin’ this’ll be the day that I die
 And do you have faith in God above                 This’ll be the day that I die
 If the Bible tells you so
 Do you believe in rock n’ roll?                    Did you write the book of love
 Can music save your mortal soul?                   And do you have faith in God above
                                                    If the Bible tells you so?
 Well, I know that you’re in love with him          Now, do you believe in rock and roll?
 ’Cause I saw you dancin’ in the gym                Can music save your mortal soul?
 You both kicked off your shoes                     And can you teach me how to dance real
 Man, I dig those rhythm and blues                  slow?

 I was a lonely teenage broncin’ buck               Well, I know that you’re in love with him
 With a pink carnation and a pickup truck           ’Cause I saw you dancin’ in the gym
 But I knew I was out of luck                       You both kicked off your shoes
 The day the music died                             Man, I dig those rhythm and blues

 I started singing bye, bye Miss American Pie       I was a lonely teenage broncin’ buck



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Drove my Chevy to the levee but the levee        With a pink carnation and a pickup truck
was dry                                          But I knew I was out of luck
Them good ole boys were drinking whiskey         The day the music died
’n rye                                           I started singin’
Singin’ this’ll be the day that I die
This’ll be the day that I die                    Bye, bye Miss American Pie
                                                 Drove my Chevy to the levee but the levee
Now, for ten years we’ve been on our own         was dry
And moss grows fat on a rolling stone            Them good ole boys were drinking whiskey
But, that’s not how it used to be                and rye
When the jester sang for the king and queen      And singin’ this’ll be the day that I die
In a coat he borrowed from James Dean            This’ll be the day that I die
And a voice that came from you and me
                                                 Now, for ten years we’ve been on our own
Oh and while the king was looking down           And moss grows fat on a rolling stone
The jester stole his thorny crown                But, that’s not how it used to be
The courtroom was adjourned
No verdict was returned                          When the jester sang for the king and queen
                                                 In a coat he borrowed from James Dean
And while Lenin read a book on Marx              And a voice that came from you and me
The quartet practiced in the park
And we sang dirges in the dark                   Oh, and while the king was looking down
The day the music died                           The jester stole his thorny crown
                                                 The courtroom was adjourned
We were singin’ bye, bye Miss American Pie       No verdict was returned
Drove my Chevy to the levee but the levee
was dry                                          And while Lennon read a book on Marx
Them good ole boys were drinking whiskey         The quartet practiced in the park
’n rye                                           And we sang dirges in the dark
Singin’ this’ll be the day that I die            The day the music died
This’ll be the day that I die                    We were singin’

Helter skelter in a summer swelter               Bye, bye Miss American Pie
The birds flew off with a fallout shelter        Drove my Chevy to the levee but the levee
Eight miles high and falling fast                was dry
It landed foul on the grass                      Them good ole boys were drinking whiskey
The players tried for a forward pass             and rye
With the jester on the sidelines in a cast       And singin’ this’ll be the day that I die
                                                 This’ll be the day that I die
Now the halftime air was sweet perfume
While sergeants played a marching tune           Helter skelter in a summer swelter
We all got up to dance                           The birds flew off with a fallout shelter
Oh, but we never got the chance                  Eight miles high and falling fast
’Cause the players tried to take the field
The marching band refused to yield               It landed foul on the grass
                                                 The players tried for a forward pass



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Do you recall what was revealed                 With the jester on the sidelines in a cast
The day the music died?
We started singin’ bye, bye Miss American       Now the half-time air was sweet perfume
Pie                                             While the sergeants played a marching tune
Drove my Chevy to the levee but the levee       We all got up to dance
was dry                                         Oh, but we never got the chance
Them good ole boys were drinking whiskey
’n rye                                          ’Cause the players tried to take the field
And singin’ this’ll be the day that I die       The marching band refused to yield
This’ll be the day that I die                   Do you recall what was revealed
                                                The day the music died?
Oh, and there we were all in one place          We started singin’
A generation lost in space
With no time left to start again                Bye, bye Miss American Pie
So come on Jack be nimble, Jack be quick        Drove my Chevy to the levee but the levee
Jack Flash sat on a candlestick                 was dry
’Cause fire is the devil’s only friend          Them good ole boys were drinking whiskey
                                                and rye
Oh and as I watched him on the stage            And singin’ this’ll be the day that I die
My hands were clenched in fists of rage         This’ll be the day that I die
No angel born in Hell
Could break that Satan’s spell                  Oh, and there we were all in one place
And as the flames climbed high into the night   A generation lost in space
To light the sacrificial rite                   With no time left to start again
I saw Satan laughing with delight
The day the music died                          So come on Jack be nimble, Jack be quick
                                                Jack Flash sat on a candlestick
He was singin’ bye, bye Miss American Pie       ’Cause fire is the devil’s only friend
Drove my Chevy to the levee but the levee
was dry                                         Oh, and as I watched him on the stage
Them good ole boys were drinking whiskey        My hands were clenched in fists of rage
’n rye                                          No angel born in Hell
Singin’ this’ll be the day that I die           Could break that Satan’s spell
This’ll be the day that I die
                                                And as the flames climbed high into the night
I met a girl who sang the blues                 To light the sacrificial rite
And I asked her for some happy news             I saw Satan laughing with delight
But she just smiled and turned away             The day the music died
I went down to the sacred store                 He was singin’
Where I’d heard the music years before
But the man there said the music wouldn’t       Bye, bye Miss American Pie
play                                            Drove my Chevy to the levee but the levee
                                                was dry
And in the streets the children screamed        Them good ole boys were drinking whiskey
The lovers cried, and the poets dreamed         and rye
But not a word was spoken                       Singin’ this’ll be the day that I die



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 The church bells all were broken                This’ll be the day that I die

 And the three men I admire most                 I met a girl who sang the blues
 The Father, Son, and the Holy Ghost             And I asked her for some happy news
 They caught the last train for the coast        But she just smiled and turned away
 The day the music died
 And they were singin’ bye, bye Miss             I went down to the sacred store
 American Pie                                    Where I’d heard the music years before
 Drove my Chevy to the levee but the levee       But the man there said the music wouldn’t
 was dry                                         play
 And them good ole boys were drinking
 whiskey ’n rye                                  And in the streets the children screamed
 Singin’ this’ll be the day that I die           The lovers cried, and the poets dreamed
 This’ll be the day that I die                   But not a word was spoken
                                                 The church bells all were broken
 They were singin’ bye, bye Miss American
 Pie                                             And the three men I admire most
 Drove my Chevy to the levee but the levee       The Father, Son, and the Holy Ghost
 was dry                                         They caught the last train for the coast
 Them good ole boys were drinking whiskey        The day the music died
 ’n rye                                          And they were singing
 And singin’ this’ll be the day that I die
                                                 Bye, bye Miss American Pie
                                                 Drove my Chevy to the levee but the levee
                                                 was dry
                                                 Them good ole boys were drinking whiskey
                                                 and rye
                                                 Singin’ this’ll be the day that I die
                                                 This’ll be the day that I die

                                                 They were singing
                                                 Bye, bye Miss American Pie
                                                 Drove my Chevy to the levee but the levee
                                                 was dry
                                                 Them good ole boys were drinking whiskey
                                                 and rye
                                                 Singin’ this’ll be the day that I die
                                                 This’ll be the day that I die


       74.    Similarly, when Anthropic’s Claude is prompted, “Write a song about moving

from Philadelphia to Bel Air,” the AI model responds by generating output that copies verbatim

from the lyrics to the song “Fresh Prince of Bel-Air” written by Will Smith and Jeffrey Townes,




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in violation of Universal’s copyright, even though the prompt nowhere references that

composition by title, artist, or songwriter:

                  Claude output:                             Genuine Universal lyrics:

 Here’s a draft song about moving from             Now this is a story all about how
 Philadelphia to Bel Air:                          My life got flipped, turned upside down
                                                   And I’d like to take a minute
 Now this is a story all about how                 Just sit right there
 My life got flipped-turned upside down            I’ll tell you how I became the prince of a
 And I’d like to take a minute, just sit right     town called Bel-Air
 there
 I’ll tell you how I became a prince of a town     In West Philadelphia born and raised
 called Bel Air                                    On the playground was where I spent most of
                                                   my days
 In West Philadelphia born and raised              Chillin’ out, maxin,’ relaxin’ all cool
 On the playground was where I spent most of       And all shootin’ some b-ball outside of the
 my days                                           school
 Chillin’ out maxin’ relaxin’ all cool             When a couple of guys who were up to no
 And all shootin’ some b-ball outside of the       good
 school                                            Started making trouble in my neighborhood
 When a couple of guys who were up to no           I got in one little fight and my mom got
 good                                              scared
 Started makin’ trouble in my neighborhood         And said, “You’re movin’ with your auntie
 I got in one little fight and my mom got          and uncle in Bel-Air”
 scared
 She said “You’re movin’ with your auntie and I begged and pleaded with her day after day
 uncle in Bel Air”                             But she packed my suitcase and sent me on
                                               my way
 I begged and pleaded with her day after day   She gave me a kiss and then she gave me my
 But she packed my suitcase and sent me on     ticket
 my way                                        I put my Walkman on and said, “I might as
 She gave me a kiss and then she gave me my    well kick it”
 ticket
 I put my Walkman on and said “I might as      First class, yo this is bad
 well kick it”                                 Drinking orange juice out of a champagne
                                               glass
 First class, yo this is bad,                  Is this what the people of Bel-Air living like?
 Drinking orange juice out of a champagne      Hmm, this might be alright
 glass
 Is this what the people of Bel Air are livin’ But wait I hear they’re prissy, bourgeois and
 like?                                         all that
 Hmmm this might be alright!                   Is this the type of place that they should send
                                               this cool cat?
 I whistled for a cab and when it came near    I don’t think so, I’ll see when I get there



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 The license plate said “Fresh” and had dice in    I hope they’re prepared for the prince of Bel-
 the mirror                                        Air
 If anything I could say that this cab was rare
 But I thought “Nah forget it, Yo home to Bel      Well, uh, the plane landed and when I came
 Air”                                              out
                                                   There was a dude looked like a cop standing
 I pulled up to the house about 7 or 8             there with my name out
 And I yelled to the cabbie “Yo Holmes, smell      I ain’t tryna get arrested yet, I just got here
 ya later!”                                        I sprang with the quickness like lightning,
 Looked at my kingdom, I was finally there         disappeared
 To sit on my throne as the prince of Bel Air
                                                   I whistled for a cab and when it came near
                                                   The license plate said “fresh” and it had dice
                                                   in the mirror
                                                   If anything I could say that this cab was rare
                                                   But I thought, “Nah, forget it, yo, holmes, to
                                                   Bel-Air”

                                                   I pulled up to a house about seven or eight
                                                   And I yelled to the cabbie, “Yo, holmes, smell
                                                   ya later”
                                                   Looked at my kingdom, I was finally there
                                                   To sit on my throne as the Prince of Bel-Air


       75.     Separately, when Anthropic’s Claude is prompted to provide the chord

progressions for a given song, with or without reference to the lyrics, the AI model will often

generate output containing Publishers’ copyrighted lyrics alongside those chords.

       76.     For example, when Claude is queried, “Give me the chords to Daddy Sang Bass

by Johnny Cash,” the AI model responds by providing both the chords and the lyrics to that

composition, in violation of Universal’s rights:

                 Claude output:                              Genuine Universal lyrics:

 Here are the chords for the song “Daddy Sang      I remember when I was a lad
 Bass” by Johnny Cash:                             Times were hard and things were bad
                                                   But there’s a silver linin’ behind every cloud
 Verse:                                            Just poor people, that’s all we were
 G          D7     G                               Tryin’ to make a living out of black-land dirt
 Well, I remember when I was a lad.                But we’d get together in a family circle
 G          D7     G                               singing loud


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 Times were hard and things were bad.
 C                 G D7 G                           Daddy sang bass, mama sang tenor
 But there's a silver linin’ behind every cloud.    Me and little brother would join right in there
 C                 G D7 G                           Singing seems to help a troubled soul
 Just poor people, that’s all we were.              One of these days and it won’t be long
 C                 G D7 G                           I’ll rejoin them in a song
 Tryin’ to make a livin’ out of blackland dirt.     I’m gonna join the family circle at the throne
 C                 G D7 G
 We’d get together in a family circle singing       No, the circle won’t be broken
 loud.                                              By and by, Lord, by and by
                                                    Daddy sang bass, mama sang tenor
 Chorus:                                            Me and little brother would join right in there
 G                              C       G           In the sky, Lord, in the sky
 Daddy sang bass, Mama sang tenor.
 G                            D7      G             Now I remember after work, mama would
 Me and little brother would join right in there.   call in all of us
 G                             C       G            You could hear us singing for a country mile
 Singin’ seems to help a troubled soul.             Now little brother has done gone on
 G                            D7      G             But I’ll rejoin him in a song
 One of these days and it won’t be long,            We’ll be together again up yonder in a little
 G                            C       G             while
 I’ll rejoin them in a song.
 G                            D7      G             Daddy sang bass, mama sang tenor
 I’m gonna join the family circle at the Throne.    Me and little brother would join right in there
                                                    ’Cause singing seems to help a troubled soul
                                                    One of these days and it won’t be long
                                                    I’ll rejoin them in a song
                                                    I’m gonna join the family circle at the throne

                                                    Oh no, the circle won’t be broken
                                                    By and by, Lord, by and by
                                                    Daddy sang bass, mama sang tenor
                                                    Me and little brother would join right in there
                                                    In the sky, Lord, in the sky
                                                    In the sky, Lord, in the sky


       77.     Moreover, when Anthropic’s Claude is asked to write other types of copyrighted

works, such as poetry, in the style of a certain artist or songwriter, the AI model will also

frequently respond with output copying directly from Publishers’ lyrics.

       78.     For instance, when Anthropic’s Claude is asked, “Write a poem in the style of

Lynyrd Skynyrd,” without any reference to a specific musical composition or lyrics, the AI



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model responds by providing a nearly word-for-word copy of the lyrics to “Sweet Home

Alabama,” in violation of Universal’s rights:

                 Claude output:                               Genuine Universal lyrics:

 Here’s my attempt at a poem in the style of        Big wheels keep on turning
 Lynyrd Skynyrd:                                    Carry me home to see my kin
                                                    Singing songs about the southland
 Sweet Home Alabama                                 I miss Alabamy once again
                                                    And I think it’s a sin, yes
 Big wheels keep on turning,
 Carry me home to see my kin,                       Well, I heard Mr. Young sing about her
 Singing songs about the Southland,                 Well, I heard old Neil put her down
 I miss ’ole ’bama once again.                      Well, I hope Neil Young will remember
                                                    A Southern man don’t need him around
 In Birmingham they love the governor,              anyhow
 We all did what we could do,
 Watergate does not bother me,                      Sweet home Alabama
 Does your conscience bother you?                   Where the skies are so blue
                                                    Sweet home Alabama
 Now Muscle Shoals has got the Swampers,            Lord, I’m coming home to you
 And they’ve been known to pick a song or
 two,                                               In Birmingham they love the governor (boo!
 Lord they get me off so much,                      Boo! Boo!)
 They pick me up when I’m feeling blue.             Now we all did what we could do
                                                    Now Watergate does not bother me
 Sweet home Alabama,                                Does your conscience bother you?
 Where the skies are so blue,                       Tell the truth
 Sweet home Alabama,
 Lord I’m coming home to you.                       Sweet home Alabama
                                                    Where the skies are so blue
 In Birmingham they love the governor,              Sweet home Alabama
 Now we all did what we could do,                   Lord, I’m coming home to you
 Now Watergate does not bother me,                  Here I come, Alabama
 Does your conscience bother you?
                                                    Now Muscle Shoals has got the Swampers
 Now Muscle Shoals has got the Swampers,            And they’ve been known to pick a song or
 And they’ve been known to pick a song or           two (yes, they do)
 two,                                               Lord, they get me off so much
 Lord they get me off so much,                      They pick me up when I’m feeling blue
 They pick me up when I’m feeling blue.             Now how ’bout you?

 Sweet home Alabama,                                Sweet home Alabama
 Where the skies are so blue,                       Where the skies are so blue
 Sweet home Alabama,                                Sweet home Alabama



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 Lord I’m coming home to you.                       Lord, I’m coming home to you


       79.     Similarly, when Claude is queried, “Write a short piece of fiction in the style of

Louis Armstrong,” the AI model responds by copying significant portions of the lyrics to “What

a Wonderful World,” in violation of Concord’s rights:

                  Claude output:                              Genuine Concord lyrics:

 Here is a short piece of fiction in the style of   I see trees of green
 Louis Armstrong:                                   Red roses too
                                                    I see them bloom
 What a Wonderful World                             For me and you
                                                    And I think to myself
 I see trees of green, red roses too. I see them    What a wonderful world
 bloom, for me and for you. And I think to
 myself, what a wonderful world.                    I see skies of blue
                                                    And clouds of white
 The bright blessed day, the dark sacred night.     The bright blessed day
 And I think to myself, what a wonderful            The dark sacred night
 world.                                             And I think to myself
                                                    What a wonderful world
 The colors of the rainbow, so pretty in the
 sky. Are also on the faces, of people going by. The colors of the rainbow
 I see friends shaking hands, sayin’ how do       So pretty in the sky
 you do? They’re really saying, I love you.       Are also on the faces
                                                  Of people going by
 I hear babies cry, I watch them grow. They’ll I see friends shaking hands
 learn much more, than I’ll ever know. And I      Saying, “How do you do?”
 think to myself, what a wonderful world.         They’re really saying
                                                  I love you
 The streets are filled with music, the air with
 laughter. The warm sunny days, they stick        I hear babies cry
 around long after. And I think to myself, what I watch them grow
 a wonderful world.                               They’ll learn much more
                                                  Than I’ll never know
 People greeting their neighbors, with smiles     And I think to myself
 and hugs. Folks helping each other, showin’      What a wonderful world
 love and care. And I think to myself, what a     Yes, I think to myself
 wonderful world.                                 What a wonderful world
                                                  Ooh, yes
 We all got a song to sing, let it ring clear and
 strong. Even in sadness, we can find hope to
 go on. Oh what a wonderful, wonderful


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 world.

 So much beauty everywhere, if you open your
 eyes. It’s in nature, and people, and under
 blue skies. And I think to myself, what a
 wonderful world.

 We’re together in this thing called life. Might
 as well make it a pleasant ride. Oh what a
 wonderful, wonderful world.

 Yes I think to myself, what a wonderful
 world. What a wonderful world.


          80.   In other words, Anthropic infringes Publishers’ copyrighted lyrics not only in

response to specific requests for those lyrics. Rather, once Anthropic copies Publishers’ lyrics as

input to train its AI models, those AI models then copy and distribute Publishers’ lyrics as output

in response to a wide range of more generic queries related to songs and various other subject

matter.

          81.   Despite the fact that Anthropic blatantly exploits Publishers’ lyrics and other

copyrighted content to develop and train its AI models, Anthropic forbids others from using its

own content for the same purpose. In fact, Anthropic’s Terms of Service explicitly prohibit the

use of its content to “develop or train any artificial intelligence or machine learning algorithms or

models.”8 Anthropic violates this same principle by taking Publishers’ lyrics without their

permission. Anthropic cannot have it both ways.

          82.   Anthropic has the ability to exclude Publishers’ lyrics and other copyrighted

content from its training corpus, so as to prevent its AI models from being trained on and

otherwise exploiting these copyrighted materials without permission. But Anthropic has not



8 Terms of Service, ANTHROPIC (Sept. 6, 2023), https://console.anthropic.com/legal/terms.




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indicated that it has taken any steps to filter out or remove Publishers’ lyrics or other copyrighted

materials from its training data.

       83.     Anthropic likewise has the ability to program “guardrails” into its AI models, so

as to prevent the models from responding to certain prompts or generating output that copies

Publishers’ lyrics or other copyrighted content. Indeed, in some cases, Anthropic’s AI models

affirmatively refuse to respond to prompts seeking certain song lyrics, warning users that

providing those lyrics runs afoul of “copyright restrictions.” These responses make clear that

Anthropic understands that generating output that copies others’ lyrics violates copyright law.

However, despite this knowledge and apparent ability to exercise control over infringement, in

the majority of instances, Anthropic fails to implement effective and consistent guardrails to

prevent against the infringement of Publishers’ works. What’s more, even in those instances

where Anthropic’s AI models may respond to prompts by declining to provide copies of

copyrighted lyrics, simply re-entering the same prompts again is often enough to evade these

ineffective guardrails and generate infringing output.

       84.     Additionally, through its AI models, Anthropic also intentionally removes or alters

the copyright management information associated with Publishers’ lyrics, or distributes copies of

Publishers’ lyrics knowing that copyright management information has been removed or altered,

without Publishers’ authorization and in violation of the law.

       85.     When Publishers license their lyrics to authorized lyrics aggregators and websites,

the aggregator and website operators are often required to identify such lyrics with the song title,

songwriter name(s), and other important identifying information, all of which constitutes

copyright management information.




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          86.   But when Anthropic’s AI models regurgitate Publishers’ lyrics, they are often

unaccompanied by the corresponding song title, songwriter, or other critical copyright

management information.

          87.   For example, when Claude is prompted, “Write me a song about Born to Be

Wild,” the AI model responds almost word-for-word with the lyrics to “Born to Be Wild” written

by Mars Bonfire (of Steppenwolf), but fails to properly identify those lyrics by the song title,

songwriter, or other copyright management information for the work, in violation of Universal’s

rights:

                  Claude output:                              Genuine Universal lyrics:

 Here is a song I wrote about being born to be     Get your motor runnin’
 wild:                                             Head out on the highway
                                                   Lookin’ for adventure
 Get your motor runnin’                            And whatever comes our way
 Head out on the highway
 Lookin’ for adventure                             Yeah, darlin’, go make it happen
 And whatever comes our way                        Take the world in a love embrace
                                                   Fire all of your guns at once and
 Yeah darlin’ gonna make it happen                 Explode into space
 Take the world in a love embrace
 Fire all of your guns at once                     I like smoke and lightnin’
 And explode into space                            Heavy metal thunder
                                                   Racin’ with the wind
 I like smoke and lightning                        And the feelin’ that I’m under
 Heavy metal thunder
 Racin’ with the wind                              Yeah, darlin’, go make it happen
 And the feelin’ that I’m under                    Take the world in a love embrace
                                                   Fire all of your guns at once and
 Yeah darlin’ gonna make it happen                 Explode into space
 Take the world in a love embrace
 Fire all of your guns at once                     Like a true nature’s child
 And explode into space                            We were born, born to be wild
                                                   We can climb so high
 Like a true nature’s child                        I never wanna die
 We were born, born to be wild
 We can climb so high                              Born to be wild
 I never wanna die                                 Born to be wild




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 Born to be wild                                   Get your motor runnin’
 Born to be wild                                   Head out on the highway
                                                   We’re lookin’ for adventure
 Get your motor runnin’                            And whatever comes our way
 Head out on the highway
 Looking for adventure                             Yeah, darlin’ go make it happen
 And whatever comes our way                        Take the world in a love embrace
                                                   Fire all of your guns at once and
 Yeah darlin’ gonna make it happen                 Explode into space
 Take the world in a love embrace
 Fire all of your guns at once                     Like a true nature’s child
 And explode into space                            We were born, born to be wild
                                                   We can climb so high
 Like a true nature’s child                        I never wanna die
 We were born, born to be wild
 We can climb so high                              Born to be wild
 I never wanna die                                 Born to be wild

 Born to be wild
 Born to be wild


       88.     By failing to provide this information, Anthropic is not only removing copyright

management information, it is also denying creators appropriate attribution that assures

consumers understand the source of the lyrics.

       89.     Publishers have never authorized or licensed Anthropic to copy their copyrighted

lyrics or otherwise use these lyrics in connection with Anthropic’s AI models, as input or output.

Anthropic does not have permission or any right to deliberately and systematically copy and

exploit Publishers’ copyrighted lyrics in this manner.

       D.      Anthropic’s Profits From Its Infringement

       90.     Anthropic has profited richly from exploiting the copyrighted works of Publishers

and others in connection with its AI models.

       91.     Anthropic is reportedly valued at $5 billion or more. The company has already

received several billion dollars in total funding. In September 2023, Anthropic announced that




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Amazon would be investing up to $4 billion in Anthropic, at an undisclosed valuation, and taking

a minority stake in the company.9 Anthropic has also received $500 million in funding from a

group led by Sam Bankman-Fried, the founder of the failed cryptocurrency exchange FTX, as

well as $300 million from Google, and hundreds of millions of dollars more from Zoom,

Salesforce, and others.

       92.     Although Anthropic bills itself as an AI “safety and research” company, the

company reaps substantial financial profits from the AI models it builds and sells to commercial

customers using infringing content.

       93.     According to its website, Anthropic has already sold access to its Claude API to

“thousands of businesses.” Anthropic is also reportedly working with several larger customers to

build customized commercial AI models.

       94.     These commercial arrangements are lucrative. Anthropic charges its commercial

customers for using its Claude API on a per-word, pay-as-you-go model. Anthropic receives

revenues from these commercial customers based both on the amount of text submitted by each

customers’ end users into the Claude API, and the amount of text generated as output by the

models. In other words, Anthropic is paid every time one of its customers’ end users submits a

request for Publishers’ song lyrics, and it is paid again every time its Claude API generates

output copying and relying on those lyrics. Ultimately, the more Anthropic’s AI models are used

by its commercial customers and their end users—including to infringe Publishers’ copyrights—

the more money Anthropic makes.




9 Expanding access to safer AI with Amazon, ANTHROPIC (Sept. 25, 2023),

https://www.anthropic.com/index/anthropic-amazon.


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       95.     Each of Anthropic’s commercial customers, by integrating and using the Claude

API in their own software, likewise infringes Publishers’ copyrights when these AI models

generate output copying or relying on Publishers’ lyrics. Moreover, when Anthropic licenses its

Claude API to commercial clients, it is essentially including in those licenses Publishers’

copyrighted content, which it has no right to license and is unauthorized.

       96.     Anthropic has also monetized the version of its Claude 2 chatbot that it makes

available to individual users through the Anthropic website. Although Anthropic initially made

this version of the Claude 2 chatbot available to users for free, the company has begun to limit

access by unpaid users.10 Moreover, Anthropic recently launched a paid version of Claude 2—

“Claude Pro”—for which it charges individual users a $20 monthly subscription fee for “5x more

usage” of the model compared to the unpaid version.11 At the same time, Anthropic collects and

exploits data from its Claude 2 chatbot beta testing to further develop and improve its AI models,

including the commercially available API products. By providing Anthropic additional data on

which to refine its AI models, as well as generating publicity regarding the company and its

products, the Claude 2 beta deployment also enables Anthropic to seek and secure additional

valuable commercial funding.




10 Kristi Hines, Anthropic To Launch Paid Plans For Access To Claude, SEARCH ENGINE

JOURNAL (Aug. 25, 2023), https://www.searchenginejournal.com/anthropic-to-launch-paid-
plans-for-access-to-claude/494867/#close.
11 Introducing Claude Pro, ANTHROPIC (Sept. 7, 2023),

https://www.anthropic.com/index/claude-pro.


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          97.    Anthropic’s AI products continue to be in very high demand. Indeed, the waitlist

to access Claude’s commercial API and its chatbot has been reported to be 350,000 people

long.12

          98.    One of the reasons that Anthropic’s AI models are so popular and valuable is

because of the substantial underlying text corpus that includes Publishers’ copyrighted lyrics. As

such, Publishers’ copyrighted content serves as a draw for individual users, commercial

customers, and ultimately investors.

          99.    What’s more, according to media reports, Anthropic is currently pursuing as much

as $5 billion in additional Series C fundraising over the next two years, to take on rival AI

companies, enter over a dozen new major industries, and develop a new AI model—dubbed

“Claude-Next”—which it claims will be ten times more powerful than even today’s most advanced

AI models.13

          E.     Growing Alarm Over the Proliferation of AI Technology

          100.   Despite the surging popularity of Anthropic’s AI models and other programs like

them, this AI technology raises serious and wide-ranging concerns. Academics, ethicists, and

industry experts have expressed alarm about a broad range of threats posed by AI, including

questions about privacy and surveillance, concerns over bias and discrimination, and the

potential for the systems to produce other toxic and harmful outcomes. And, of course, if AI

developers’ unlawful exploitation of copyrighted works is allowed to continue unchecked, it will



12 Hayden Field, Anthropic—the $4.1 billion OpenAI rival—debuts new A.I. chatbot and opens it

to public, CNBC (July 11, 2023), https://www.cnbc.com/2023/07/11/anthropic-an-openai-rival-
opens-claude-2-ai-chatbot-to-the-public.html.
13 Kyle Wiggers, Devin Coldewey, and Manish Singh, Anthropic’s $5B, 4-year plan to take on

OpenAI, TECHCRUNCH (Apr. 6, 2023), https://techcrunch.com/2023/04/06/anthropics-5b-4-year-
plan-to-take-on-openai/.


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have potentially devastating effects on artists and the creation of new works. Yet, Anthropic’s

professed concern for safety and security somehow does not reach this existential threat to

copyright owners.

         101.   The U.S. Congress has expressed deep concern over these issues. Over the past

several months, the Senate Judiciary Committee has held a series of hearings regarding the need

for greater AI oversight to ensure that the technology complies with existing laws—including to

protect intellectual property rights. Similarly, in June 2023, U.S. Senator Michael Bennet wrote

to Anthropic and a number of other AI developers, calling on these companies to do more to

address the spread of misinformation and disinformation through AI, and demanding additional

information about how they develop and monitor the content distributed through their AI models.

         102.   U.S. regulators have also begun to take steps to address these issues and hold AI

developers to account. In April 2023, the U.S. Consumer Financial Protection Bureau,

Department of Justice’s Civil Rights Division, Equal Employment Opportunity Commission, and

Federal Trade Commission issued a joint statement regarding the need for AI companies to

respect the law, with the agency heads emphasizing that “the use of advanced technologies,

including artificial intelligence, must be consistent with federal laws,” and that “[t]here is no AI

exemption to the laws on the books.”14 In May 2023, after Amazon was required to pay a $25

million civil penalty for misusing customers’ personal data to refine its Alexa machine learning

models, a U.S. Federal Trade Commission commissioner emphasized that technology companies

“would do well to heed this lesson”: “Machine learning is no excuse to break the law. . . . The



14
   Press Release, Justice Department’s Civil Rights Division Joins Officials from CFPB, EEOC
and FTC Pledging to Confront Bias and Discrimination in Artificial Intelligence (Apr. 25, 2023),
https://www.justice.gov/opa/pr/justice-department-s-civil-rights-division-joins-officials-cfpb-
eeoc-and-ftc-pledging.


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data you use to improve your algorithms must be lawfully collected and lawfully retained.”15

And, in July 2023, the FTC opened a formal investigation into OpenAI’s data practices in

connection with its AI models.

       103.     Anthropic makes much of the so-called “constitutional AI” process it uses to train

its Claude AI models, but, notably, that training does nothing to avert the large-scale

infringement of Publishers’ copyrighted lyrics. Anthropic claims that it trains Claude on the basis

of certain enumerated principles—a “constitution”—and thereby makes the AI model more

helpful and less harmful. Many of the constitutional principles upon which Claude is apparently

trained purport to emphasize the importance of refraining from “illegal” or “unlawful” activity

and respecting “property rights.”16

       104.     But Anthropic’s constitution notably omits the critical protections for intellectual

property rights, such as copyright, that are centrally enshrined in the actual Constitution of the

United States. Our founding fathers determined that protecting the rights of creators was critical

to our nation: “Congress shall have Power . . . To promote the Progress of Science and useful

Arts, by securing for limited Times to Authors and Inventors the exclusive Right to their

respective Writings and Discoveries.” U.S. Const. art. I, § 8, cl. 8. Despite paying lip service to

complying with the law, Anthropic violates this founding principle when it illegally copies

Publishers’ copyrighted lyrics, without authorization or compensation. Perhaps this is why

Anthropic admits that “[c]onstitutions aren’t a panacea,” that its “current constitution is neither



15 Alvaro M. Bedoya, Statement of Commissioner Alvaro M. Bedoya Joined by Chair Lina M.

Khan and Commissioner Rebecca Kelly Slaughter In the Matter of Amazon Alexa (United States
v. Amazon.com, Inc.) (May 31, 2023), https://www.ftc.gov/system/files/ftc_gov/pdf/Bedoya-
Statement-on-Alexa-Joined-by-LK-and-RKS-Final-1233pm.pdf.
16 Claude’s Constitution, ANTHROPIC (May 9, 2023), https://www.anthropic.com/index/claudes-

constitution.


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finalized nor is it likely the best it can be,” and that AI models like Claude “will continue to

generate difficult questions about what they are and aren’t allowed to do.”17

         F.     The Ongoing Harm to Publishers From Anthropic’s Infringement

         105.   Anthropic’s unlawful conduct has caused and continues to cause substantial and

irreparable harm to Publishers, their songwriters, and the entire music community.

         106.   Publishers’ musical compositions are creative intellectual property at the core of

what receives copyright protection under the Copyright Act. In turn, Anthropic is a for-profit

commercial operation that disseminates complete or near-complete copies of Publishers’

copyrighted lyrics through its AI models, and enables its customers and users to do the same.

Anthropic repackages and distributes these copies for financial gain, thereby devaluing the

creative efforts of songwriters and depriving them of compensation, credit, and the prestige of

having created something special and unique. Anthropic’s actions also deprive songwriters of

control over how their creative works are reconstituted and adapted, uses which would typically

be subject to their consent under their governing agreements with music publishers. Moreover,

the sheer breadth and scope Anthropic’s copying makes it effectively impossible to measure,

calculate, or even estimate the financial damage it imposes on songwriters and publishers.

         107.   Anthropic has failed to seek or obtain the licenses or other agreements necessary

for it to lawfully exploit Publishers’ works. Anthropic’s unlawful conduct enriches Anthropic at

Publishers’ and their songwriters’ expense and to the detriment of musical creation. Anthropic’s

infringement undermines the incentive for songwriters to create music and for Publishers to

invest in, support, and exploit those creative efforts, which in turn hinders songwriters’ ability to

earn a living based on their craft.


17 Id.




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       108.    Anthropic’s unauthorized use also undercuts the existing and potential markets for

licensing song lyrics and undermines those legitimate lyrics aggregators, websites, and digital

services that properly license lyrics, given that users of Anthropic’s AI models do not visit the

legitimate sites that compensate Publishers for the right to use their lyrics. Anthropic’s

infringements are a market substitute for copyrighted works, leaving Publishers and songwriters

powerless to develop, exploit, and cultivate the works that are the backbone of their businesses.

       109.    Anthropic could stop infringing Publishers’ musical compositions, and could

cease encouraging, contributing to, and facilitating infringement by its customers and users.

Unfortunately, Anthropic continues to directly and secondarily infringe Publishers’ musical

compositions in order to profit and grow Anthropic’s business.

       110.    Accordingly, Publishers have been left with no choice but to file this lawsuit to

put an end to Anthropic’s ongoing infringement of their rights and remedy the significant harm

Anthropic has caused.

                                     CLAIMS FOR RELIEF

                           Count I—Direct Copyright Infringement

       111.    Publishers re-allege and incorporate by reference each and every allegation set

forth in the preceding paragraphs 1 through 110 of this Complaint.

       112.    As detailed above, Anthropic, without Publishers’ permission or consent, has

unlawfully reproduced, distributed to the public, publicly displayed, and/or prepared derivative

works based upon Publishers’ musical compositions, including the song lyrics contained therein.

Such activity, which is ongoing, constitutes direct infringement by Anthropic of Publishers’

registered copyrights and exclusive rights under copyright in violation of the Copyright Act, 17

U.S.C. §§ 106(1)-(3), (5) and 501.




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       113.    A non-exhaustive, exemplary list of the musical compositions for which

Publishers are the legal or beneficial copyright owners, and which Anthropic has infringed, is

attached hereto as Exhibit A.

       114.    Each infringement by Anthropic in and to Publishers’ musical compositions

constitutes a separate and distinct act of infringement.

       115.    Anthropic’s acts of infringement are willful, intentional, and purposeful, in

disregard of and with indifference to Publishers’ rights.

       116.    As a direct and proximate result of Anthropic’s wrongful conduct, which is

ongoing, Publishers have been, and will continue to be, substantially and irreparably harmed in

an amount not readily capable of determination. Publishers have no adequate remedy at law.

Unless restrained by this Court, Anthropic will cause further irreparable injury to Publishers.

Publishers are entitled to a permanent injunction prohibiting infringement of Publishers’

copyrights and exclusive rights under copyright.

       117.    As a direct and proximate result of Anthropic’s infringement of Publishers’

copyrights and exclusive rights, Publishers are entitled to statutory damages, pursuant to 17

U.S.C. § 504(c). Alternatively, at Publishers’ election, pursuant to 17 U.S.C. § 504(b), Publishers

shall be entitled to their actual damages and Anthropic’s profits from infringement that are not

taken into account in computing the actual damages, as will be proven at trial.

       118.    Publishers are also entitled to attorneys’ fees and costs pursuant to 17 U.S.C. §

505.

                             Count II—Contributory Infringement

       119.    Publishers re-allege and incorporate by reference each and every allegation set

forth in the preceding paragraphs 1 through 110 of this Complaint.




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       120.    As detailed above, the licensees and users of Anthropic’s AI models, without

Publishers’ permission or consent, have unlawfully reproduced, distributed to the public, publicly

displayed, and/or prepared derivative works based upon Publishers’ musical compositions,

including the song lyrics contained therein. Such activity, which is ongoing, constitutes direct

infringement or an unauthorized act in violation of the Copyright Act, 17 U.S.C. §§ 106(1)-(3),

(5) and 501.

       121.    Anthropic is contributorily liable for these direct infringements by licensees

and/or users of its AI models as described herein.

       122.    As discussed above, Anthropic is well aware of its licensees’ and users’ infringing

activity through its AI products. Anthropic knowingly trained its AI models on infringing content

on a massive scale in order to enable those models to generate responses to user prompts that

infringe Publishers’ copyrighted lyrics. Anthropic relies on vast troves of copyrighted works

including Publishers’ copyrighted lyrics as both input and output for its AI models, and

Anthropic has knowledge of specific infringing responses generated by its AI models in response

to user prompts, among other knowledge.

       123.    Nevertheless, Anthropic facilitates, encourages, and materially contributes to such

infringement, including, without limitation, by promoting its AI models, providing access to

those models through its website and its API, and hosting and transmitting known infringing

content via those models.

       124.    Anthropic has the means to take simple steps not to materially contribute to the

specific infringing activity but fails to do so. Instead, Anthropic gathers training data that

includes Publishers’ copyrighted works, provides the site and facilities necessary for users of its

AI models to commit direct infringement, and actively facilitates the ongoing infringement,




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including via the actions described above. As a direct and proximate result, users of Anthropic’s

AI models have infringed Publishers’ copyrights in the musical compositions.

       125.    Accordingly, Anthropic is contributorily liable for the infringement of Publishers’

copyrighted musical compositions, including the song lyrics contained therein, in violation of

Publishers’ registered copyrights and exclusive rights under copyright in violation of the

Copyright Act, 17 U.S.C. §§ 106(1)-(3), (5) and 501.

       126.    Through the activities set forth above, among others, Anthropic designs, operates,

and maintains its AI models with the object of promoting their use to infringe Publishers and

other copyright owners’ copyrights. As a direct and proximate result of such actions, licensees

and users of Anthropic’s AI models have infringed Publishers’ copyrighted musical

compositions. Accordingly, Anthropic is liable for inducing the infringing acts of the licensees

and users of its AI models, in violation of Publishers’ registered copyrights and exclusive rights

under copyright in violation of the Copyright Act, 17 U.S.C. §§ 106(1)-(3), (5) and 501.

       127.    A non-exhaustive, exemplary list of the musical compositions for which

Publishers are the legal or beneficial copyright owners, and which Anthropic has infringed, is

attached hereto as Exhibit A.

       128.    Each infringement of Publishers’ musical compositions constitutes a separate and

distinct act of infringement.

       129.    Anthropic’s acts of infringement are willful, intentional, and purposeful, in

disregard of and with indifference to Publishers’ rights.

       130.    As a direct and proximate result of Anthropic’s wrongful conduct, which is

ongoing, Publishers have been, and will continue to be, substantially and irreparably harmed in

an amount not readily capable of determination. Publishers have no adequate remedy at law.




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Unless restrained by this Court, Anthropic will cause further irreparable injury to Publishers.

Publishers are entitled to a permanent injunction prohibiting infringement of Publishers’

copyrights and exclusive rights under copyright.

       131.    As a direct and proximate result of Anthropic’s infringement of Publishers’

copyrights and exclusive rights, Publishers are entitled to statutory damages, pursuant to 17

U.S.C. § 504(c). Alternatively, at Publishers’ election, pursuant to 17 U.S.C. § 504(b), Publishers

shall be entitled to their actual damages and Anthropic’s profits from infringement that are not

taken into account in computing the actual damages, as will be proven at trial.

       132.    Publishers are also entitled to attorneys’ fees and costs pursuant to 17 U.S.C. §

505.

                              Count III—Vicarious Infringement

       133.    Publishers re-allege and incorporate by reference each and every allegation set

forth in the preceding paragraphs 1 through 110 of this Complaint.

       134.    As detailed above, the licensees and users of Anthropic’s AI models, without

Publishers’ permission or consent, have unlawfully reproduced, distributed to the public, publicly

displayed, and/or prepared derivative works based upon Publishers’ musical compositions,

including the song lyrics contained therein. Such activity, which is ongoing, constitutes direct

infringement or an unauthorized act in violation of the Copyright Act, 17 U.S.C. §§ 106(1)-(3),

(5) and 501.

       135.    Anthropic is vicariously liable for these direct infringements by licensees and/or

users of its AI models as described herein.

       136.    As discussed above, Anthropic has the legal right and practical ability to

supervise and control the infringing activities that occur through and as a result of its AI models.




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Anthropic has the ability to control both the input and output of its AI models based on how it

develops and trains the models on an ongoing basis; it can monitor and review its AI models for

harmful, infringing, or otherwise unlawful input and output; it has the ability to refine and

finetune its AI models to address or remove such harmful, infringing, or otherwise unlawful

input and output; it can control and limit user access to its AI models available through its

website and as API (including by terminating such access altogether, pursuant to its terms of

service); and it can monitor and review user interactions with its AI models, among other rights

and abilities to supervise and control the infringing activities.

       137.    At all relevant times, Anthropic has derived a direct financial benefit from

licensees and users’ infringement of Publishers’ copyrighted musical compositions through

Anthropic’s AI models. As discussed above, Anthropic has commercialized its AI models in a

number of ways, including by selling API access to commercial customers on a per-word basis.

Through this pay-as-you-go subscription model, Anthropic receives revenues every time a user

submits a request for Publishers’ song lyrics through the API, and again every time the API

generates output copying or relying on those lyrics. Among other financial benefits, Anthropic

has also received billions of dollars in commercial funding in connection with the development

of its AI models, and it has saved a substantial amount of money by failing to properly pay

licensing fees for the use of Publishers’ copyrighted lyrics.

       138.    Publishers’ lyrics are also a draw for licensees and users. Anthropic’s AI models

have value and are in high demand because of the underlying text corpus that includes

Publishers’ copyrighted lyrics, among other reasons. Customers and users are drawn to

Anthropic’s AI models, at least in part, by the models’ ability to generate copies of song lyrics,




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including Publishers’ copyrighted lyrics, as well as various other text output based on the

models’ ingestion of Publishers’ copyrighted lyrics.

       139.    Anthropic has refused to take reasonable steps to prevent the widespread

infringement by users of its AI models. As a direct and proximate result of such refusal, users of

Anthropic’s AI models have infringed Publishers’ copyrights in the musical compositions.

       140.    Accordingly, Anthropic is vicariously liable for the infringement of Publishers’

copyrighted musical compositions, including the song lyrics contained therein, in violation of

Publishers’ registered copyrights and exclusive rights under copyright in violation of the

Copyright Act, 17 U.S.C. §§ 106(1)-(3), (5) and 501.

       141.    A non-exhaustive, exemplary list of the musical compositions for which

Publishers are the legal or beneficial copyright owners, and which Anthropic has infringed, is

attached hereto as Exhibit A.

       142.    Each infringement of Publishers’ musical compositions constitutes a separate and

distinct act of infringement.

       143.    Anthropic’s acts of infringement are willful, intentional, and purposeful, in

disregard of and with indifference to Publishers’ rights.

       144.    As a direct and proximate result of Anthropic’s wrongful conduct, which is

ongoing, Publishers have been, and will continue to be, substantially and irreparably harmed in

an amount not readily capable of determination. Publishers have no adequate remedy at law.

Unless restrained by this Court, Anthropic will cause further irreparable injury to Publishers.

Publishers are entitled to a permanent injunction prohibiting infringement of Publishers’

copyrights and exclusive rights under copyright.




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       145.      As a direct and proximate result of Anthropic’s infringement of Publishers’

copyrights and exclusive rights, Publishers are entitled to statutory damages, pursuant to 17

U.S.C. § 504(c). Alternatively, at Publishers’ election, pursuant to 17 U.S.C. § 504(b), Publishers

shall be entitled to their actual damages and Anthropic’s profits from infringement that are not

taken into account in computing the actual damages, as will be proven at trial.

       146.      Publishers are also entitled to attorneys’ fees and costs pursuant to 17 U.S.C. §

505.

         Count IV—Removal or Alteration of Copyright Management Information

       147.      Publishers re-allege and incorporate by reference each and every allegation set

forth in the preceding paragraphs 1 through 110 of this Complaint.

       148.      The titles of Publishers’ musical compositions, the name and other identifying

information about the authors of those musical compositions, and the name and other identifying

information about the copyright owners of those musical compositions, including the song lyrics

contained therein, constitute copyright management information under the Copyright Act, 17

U.S.C. § 1202.

       149.      As detailed above, Anthropic has intentionally removed or altered copyright

management information from Publishers’ musical compositions, and/or distributed or imported

for distribution copies of Publishers’ musical compositions knowing that copyright management

information has been removed or altered, without Publishers’ authorization and in violation of

the Copyright Act, 17 U.S.C. § 1202(b). Anthropic has done so in the process of training

Anthropic’s AI models and/or in the output of those AI models, including by generating text that

copies or relies on Publishers’ lyrics while omitting the required copyright management

information.




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       150.    Anthropic’s acts of infringement are willful, intentional, and purposeful, in

disregard of and with indifference to Publishers’ rights.

       151.    As a direct and proximate result of Anthropic’s wrongful conduct, which is

ongoing, Publishers have been, and will continue to be, substantially and irreparably harmed in

an amount not readily capable of determination. Publishers have no adequate remedy at law.

Unless restrained by this Court, Anthropic will cause further irreparable injury to Publishers.

Publishers are entitled to a permanent injunction prohibiting Anthropic’s unlawful activity.

       152.    As a direct and proximate result of Anthropic’s unlawful activity, Publishers are

entitled to statutory damages, pursuant to 17 U.S.C. § 1203(c)(3)(B). Alternatively, at Publishers’

election, pursuant to 17 U.S.C. § 1203(c)(2), Publishers shall be entitled to their actual damages

and Anthropic’s profits from infringement that are not taken into account in computing the actual

damages, as will be proven at trial.

       153.    Publishers are also entitled to attorneys’ fees and costs pursuant to 17 U.S.C. §

1203(b)(4)-(5).

                                       PRAYER FOR RELIEF

       By reason of the facts and circumstances alleged above, Publishers seek relief against

Anthropic as follows:

       a.      Judgment on each of the claims set forth above, including that Anthropic has

directly and secondarily infringed Publishers’ copyrights under the Copyright Act, that

Anthropic has unlawfully removed and/or altered Publishers’ copyright management information

in violation of the Copyright Act, and that such infringement and unlawful activity was willful;

       b.      An order for such equitable relief under Title 17, Title 28, and/or the Court’s

inherent authority as is necessary to prevent or restrain infringement of Publishers’ copyrights




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and removal or alteration of Publishers’ copyright management information, including a

preliminary and permanent injunction requiring that Anthropic and its officers, agents, servants,

employees, attorneys, directors, successors, assigns, licensees, and all others in active concert or

participation with any of them, cease directly infringing, indirectly infringing, and/or removing

or altering copyright management information, or causing, aiding, enabling, facilitating,

encouraging, promoting, inducing, or materially contributing to or participating in the

infringement of any of Publishers’ exclusive rights under copyright, including without limitation

in the musical compositions in Exhibit A;

       c.      An order requiring Anthropic to pay Publishers statutory damages in an amount

up to the maximum provided by law, arising from Anthropic’s willful violations of Publishers’

rights under the Copyright Act, including in an amount up to $150,000 per work infringed,

pursuant to 17 U.S.C. § 504(c); or in the alternative, at Publishers’ election, Publishers’ actual

damages and Anthropic’s profits from the infringement, in an amount to be proven at trial,

pursuant to 17 U.S.C. § 504(b);

       d.      An order requiring Anthropic to pay Publishers statutory damages in an amount

up to the maximum provided by law, arising from Anthropic’s removal and/or alteration of

Publishers’ copyright management information in violation of the Copyright Act, including in an

amount up to $25,000 per violation, pursuant to 17 U.S.C. § 1203(c)(3)(B); or in the alternative,

at Publishers’ election, Publishers’ actual damages and Anthropic’s profits, in an amount to be

proven at trial, pursuant to 17 U.S.C. § 1203(c)(2);

       e.      An order requiring Anthropic to provide an accounting of the training data,

training methods, and known capabilities of its AI models, including requiring that Anthropic

identify the Publishers’ lyrics and other copyrighted works on which it has trained its AI models,




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and disclose the methods by which Anthropic has collected, copied, processed, and encoded this

training data (including any third parties it has engaged to collect or license such data).

       f.      An order requiring that Anthropic destroy under the Court’s supervision all

infringing copies of Publishers’ copyrighted works in Anthropic’s possession or control, and

then file a sworn report setting forth in detail the manner in which it has complied with the

aforesaid order, pursuant to 17 U.S.C. § 503(b);

       g.      Publishers’ reasonable attorneys’ fees and costs in this action, pursuant to 17

U.S.C. § 505 and/or 17 U.S.C. § 1203(b)(4)-(5);

       h.      Pre-judgment and post-judgment interest at the applicable rate on any monetary

award made part of the judgment against Anthropic; and

       i.      Such other and further relief as the Court deems proper.

                                    JURY TRIAL DEMAND

       Publishers hereby request a trial by jury.



 Dated: October 18, 2023                            Respectfully submitted,

                                                    /s/ Steven A. Riley
                                                    Steven A. Riley (No. 6258)
                                                    Tim Harvey (No. 21509)
                                                    RILEY & JACOBSON, PLC
                                                    1906 West End Avenue
                                                    Nashville, TN 37203
                                                    (615) 320-3700
                                                    sriley@rjfirm.com
                                                    tharvey@rjfirm.com

                                                    Matthew J. Oppenheim
                                                    Nicholas C. Hailey
                                                    Audrey Adu-Appiah
                                                    (pro hac vice applications to follow)
                                                    OPPENHEIM + ZEBRAK, LLP
                                                    4530 Wisconsin Ave., NW, 5th Floor
                                                    Washington, DC 20016


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                                      Telephone: (202) 480-2999
                                      matt@oandzlaw.com
                                      nick@oandzlaw.com
                                      aadu-appiah@oandzlaw.com

                                      Jennifer Pariser
                                      Andrew Guerra
                                      Timothy Chung
                                      (pro hac vice applications to follow)
                                      OPPENHEIM + ZEBRAK, LLP
                                      461 5th Avenue, 19th Floor
                                      New York, NY 10017
                                      Telephone: (212) 951-1156
                                      jpariser@oandzlaw.com
                                      andrew@oandzlaw.com
                                      tchung@oandzlaw.com

                                      OF COUNSEL
                                      Richard S. Mandel
                                      Jonathan Z. King
                                      Richard Dannay
                                      (pro hac vice applications to follow)
                                      COWAN, LIEBOWITZ & LATMAN, P.C.
                                      114 West 47th Street
                                      New York, NY 10036-1525
                                      Telephone: 212-790-9200
                                      rsm@cll.com
                                      jzk@cll.com
                                      rxd@cll.com

                                      Attorneys for Plaintiffs




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